Case 2:15-cv-14232-AC-MKM ECF No. 21 filed 10/04/17               PageID.70      Page 1 of 112



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN

VAMEROLYN CHAPMAN,

               Plaintiff,                                  Case No. 15-cv-14232
                                                           Hon. John Corbett O’Meara
v                                                          Magistrate Judge Mona K. Majzoub

STATE FARM FIRE AND CASUALTY COMPANY,

              Defendant.
_____________________________________________________________________________/
JO ROBIN DAVIS (P31263)                 THOMAS M. RIZZO (P32357)
Jo Robin Davis, PLLC                    BRIAN J. GALLAGHER (P72712)
Attorney For Plaintiff                  DEVIN R. DAY (P60298)
30300 Northwestern Highway, Suite 104   RizzoBryan, P.C.
Farmington Hills, MI 48334              Attorney For Defendant
(248) 932-0100, ext. 254                220 Lyon Street NW, Suite 200
                                        Grand Rapids, MI 49503-2209
                                        (616) 451-8111
_____________________________________________________________________________/

    PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE TESTIMONY OF KEVIN PIKE

       NOW COMES Plaintiff VAMEROLYN CHAPMAN, by and through her attorneys, Jo

Robin Davis, PLLC, and for her Motion To Exclude Testimony of Kevin Pike states as to the

Court as follows:

       1.      Plaintiff VAMEROLYN CHAPMAN owned rental property at 5413 Kermit

Street, Flint, Michigan.

       2.      Said property was insured by Defendant STATE FARM FIRE AND CASUALTY

COMPANY.

       3.      Said property was destroyed by fire on 11/21/2014, the fire report is attached as

Exhibit A.
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       4.      Eleven days later, on 12/2/2014, the fire scene was investigated by origin and

cause investigator Kevin Pike on behalf of State Farm. His report is attached as Exhibit B. His

testimony is attached as Exhibit C.

       5.      Mr. Pike’s conclusion the fire cause was an incendiary fire is unreliable and

inadmissible under Fed R Evid 702 and 403.

       WHEREFORE, Plaintiff VAMEROLYN CHAPMAN respectfully requests that this

Honorable Court enter an Order excluding Kevin Pike’s opinion testimony.



Dated: October 4, 2017                             Respectfully submitted,

                                                   /s/ Jo Robin Davis_________
                                                   JO ROBIN DAVIS (P31263)
                                                   Jo Robin Davis, PLLC
                                                   Attorney for Plaintiff
                                                   30300 Northwestern Hwy, Suite 104
                                                   Farmington Hills, MI 48334
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                                          2
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

VAMEROLYN CHAPMAN,

               Plaintiff,                                    Case No. 15-cv-14232
                                                             Hon. John Corbett O’Meara
v                                                            Magistrate Judge Mona K. Majzoub

STATE FARM FIRE AND CASUALTY COMPANY,

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_____________________________________________________________________________/
JO ROBIN DAVIS (P31263)                 THOMAS M. RIZZO (P32357)
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30300 Northwestern Highway, Suite 104   RizzoBryan, P.C.
Farmington Hills, MI 48334              Attorney For Defendant
(248) 932-0100, ext. 254                220 Lyon Street NW, Suite 200
                                        Grand Rapids, MI 49503-2209
                                        (616) 451-8111
_____________________________________________________________________________/

                              BRIEF IN SUPPORT OF MOTION

                                       INTRODUCTION

       Plaintiff’s rental property was insured by Defendant STATE FARM FIRE AND

CASUALTY COMPANY when destroyed by fire on 11/21/2014. Defendant retained cause and

origin investigator Kevin Pike, who using the unreliable and unscientific method of negative

corpus, concluded the fire was intentionally set.    For the reasons set below, his conclusion is

inadmissible pursuant to Fed R Evid 702 and Daubert v Merrell Dow Pharmaceuticals, Inc, 509

US 579 (1993).

                                   STANDARD OF REVIEW

       Courts considering expert testimony must examine admissibility within the context of

Fed R Evid 702. In Daubert, supra, at 597, 113, S Ct, 2786, the Supreme Court held Rule 702

requires district courts to ensure that expert testimony “both rests on a reliable foundation and is



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relevant to the task at hand.”    Rule 702 imposes a gatekeeping duty on district courts, which

must exclude unreliable and irrelevant evidence. Meemic Ins Co v Hewlett-Packard Co, 717 F

Supp 2d 752 (ED Mich, 2010), citing Conwood Co LP v US Tobacco Co, 290 F 3d 768, 792 (6th

Cir, 2002).

       The Court must first determine whether the expert’s testimony reflects scientific

knowledge; whether the findings are derived from the scientific method. An expert opinion that

is based on scientifically valid principals will satisfy Fed R Evid 702; but an expert’s subjective

belief or unsupported speculation will not. Smelser v Norfolk Southern Ry Co, 105 F 3d 299,

333 (6th Cir, 1997), abrogated on other grounds by Morales v American Honda Motor Co, Inc,

151 F 3d 500 (6 Cir, 1998) quoting Daubert, (on remand) 43 F3d at 1316. The Court should

focus on the expert’s methodology, but his conclusions must be connected to the existing data by

more than the ipse dixit of the expert. General Elec Co v Joiner, 522 US 136, 146; 118 S Ct

512; 139 L Ed.2d 508 (1997), where the Court held “Nothing in either Daubert or the Federal

Rules of Evidence requires a district court to admit opinion evidence that is connected to existing

data only by the ipse dixit of the expert.”

                                              ARGUMENT

       In Owners Insurance Co v White, 2014 WL 12461045 (ND Georgia, 1/23/14), Exhibit D,

the insurance company hired Mr. Dodd to determine the origin and cause of the fire. Dodd

admitted to using negative corpus to conclude the fire was intentionally set. The Court held

Dodd’s conclusion that the fire was the result an intentional act was inadmissible:

               “The NFPA clearly rejects the use of negative corpus as a violation of the
               scientific method. The methodology does not generate testable hypotheses.
               A hypothesis based on negative corpus is not testable or falsifiable by
               experimental techniques. Opinions based on negative corpus should be
               excluded as unreliable and inapposite to the principles undergirding Rule
               702.”



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        The Court concluded at *4 “the scientific method does not allow an investigator to opine

on what started the fire when there is no evidence supporting his opinion.”

        In Somnis v Country Mut Ins Co, 840 F Supp 2d 1166 (D Minnesota, 2012), the Court

held that Fed R Evid 403 counseled against permitting the origin and cause investigator to testify

the fire was intentionally set:

                “Federal Rule of Evidence 403 also counsels against permitting St. Onge
                to testify that the fire was intentional. Given that “[e]xpert evidence can be
                both powerful and quite misleading,” Daubert, 509 U.S. at 595, 113 S.Ct.
                2786, the Court must be particularly careful to exclude such testimony if it
                might lead the jury to simply rely on the expert’s opinion and “surrender[
                ][its] own common sense.” Westcott v. Crinklaw, 68 F.3d 1073, 1076 (8th
                Cir.1995) (citations omitted). Permitting St. Onge to draw an inference
                that the jury can reach on its own would do “little more than put his
                imprimatur on the defendant’s case,” Tuli v. Brigham & Women’s Hosp.,
                Inc., 592 F.Supp.2d 208, 212 (D.Mass.2009), and, in essence, simply “tell
                the jury what result to reach.” Lee, 616 F.3d at 809 (quoting Fed.R.Evid.
                704 advisory committee’s note). As succinctly stated in Hines, it is for
                “[t]he jury ... to draw reasonable inferences from the firsthand data. When
                an expert witness is called upon to draw those inferences, several concerns
                are raised.... [A] certain patina attaches to an expert’s testimony unlike any
                other witness; this is ‘science,’ a professional’s judgment, the jury may
                think, and give more credence to the testimony than it may deserve.” 55
                F.Supp.2d at 64. These concerns are manifest here.” (Footnote omitted).

        The Court concluded:

                For the reasons set forth above, St. Onge may testify at trial that his
                examination of the fire scene failed to reveal an accidental cause for the
                fire. However, his opinion that the fire was incendiary “would not be
                helpful because it would not tell the jury anything that lay persons
                could not logically deduce on their own; he would be drawing h[is]
                conclusion in the same manner as lay persons, i.e., by exercising simple
                logic.” Ruminer v. Gen. Motors Corp., No. 4:03–CV–00349, 2006 WL
                287945, at *13 (E.D.Ark. Feb. 6, 2006). To the extent County Mutual
                believes the jury should reach that conclusion, it may press that point in its
                closing argument. See In re Zyprexa Prods. Liab. Litig., 489 F.Supp.2d
                230, 283 (E.D.N.Y.2007) (Weinstein, J.) (“Expert testimony should not
                merely reiterate arguments based on inferences that can be drawn by
                laypersons; those can properly be advanced by the parties in their
                summations.”).




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       In this case, Mr. Pike should not be allowed to testify as to his ultimate conclusion the

fire cause was incendiary. His conclusion is based on the unreliable methodology of negative

corpus which is not supported by the scientific method. Mr. Pike’s use of negative corpus to

reach the conclusion of the fire was intentionally set renders his opinion unreliable and

inadmissible.

       NFPA 921 (2014) §§19.6.5 and 19.6.5.1 provides as follows:

       “19.6.5* Appropriate Use. The process of elimination is an integral part of the
       scientific method. Alternative hypotheses should be considered and challenged
       against the facts. Elimination of a testable hypothesis by disproving the
       hypothesis with reliable evidence is a fundamental part of the scientific method.
       However, the process of elimination can be used inappropriately. The process of
       determining the ignition source for a fire, by eliminating all ignition sources
       found, known, or believed to to have been present in the area of origin, and then
       claiming such methodology is proof of an ignition source for which there is no
       supporting evidence of its existence, is referred to by some investigators as
       negative corpus. Negative corpus has typically been used in classifying fires as
       incendiary, although the process has also been used to characterize fires classified
       as accidental. This process is not consistent with the scientific method, is
       inappropriate, and should not be used because it generates untestable hypotheses,
       and may result in incorrect determinations of the ignition source and first fuel
       ignited. Any hypotheses formulated for the casual factors (e.g., first fuel, ignition
       source,, and ignition sequence), must be based on the analysis of the facts. Those
       facts are derived from evidence, observations, calculations, experiments, and the
       laws of science. Speculative information cannot be included in the analysis.”

       19.6.5.1* Cause Undetermined. In the circumstance where all hypothesized fire
       causes have been eliminated and the investigator is left with no hypothesis that is
       evidenced by the facts of the investigation, the only choice for the investigator is
       to conclude that the fire cause, or specific causal factors, remains undetermined.
       It is improper to bases hypotheses on the absence of any supportive evidence.
       That is, improper to opine a specific fire cause, ignition source, fuel or cause
       classification that has no evidence to support it even though all other such
       hypothesized elements were eliminated.”

       Although Mr. Pike claims to have followed the scientific method, his report and

testimony establish he did not. He testified:

                Did you have any hypothesis other than this being an incendiary fire
                during the course of your investigation at this particular home?



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               I looked at everything. I mean, I didn’t walk in and say it was an
               incendiary fire. I mean, I looked at all potential causes and after I
               eliminated them all this was the cause that I determined this fire was.

               So you had no hypothesis other than the fact that this was an
               incendiary fire?

               No, that’s -- I had a hypothesis that it could be possibly an electrical
               fire, but I eliminated it. I looked at the mechanical in the house.
               Eliminated it. Smoking, eliminated. I can go through a bunch of
               causes. You go through everything to make sure you eliminate them
               all.

               So your hypothesis that the fire was incendiary is based on your
               process of elimination, correct?

               Correct. (p. 22, lines 21-25; p. 23, lines 1-14)


       As set forth above in NFPA 921§19.6.5, this process is not consistent with the scientific

method, is inappropriate and should not be used because it generates untestable hypotheses. As

set forth in NFPA 921 (2014), 19.6.5.1, “it is improper to opine a specific fire cause, ignition

source, fuel or cause classification that has no evidence to support it even though all other such

hypothesized elements were eliminated.”

       In Pruitt v Stewart, 2017 WL 2276983 (ED Michigan, 5/25/17), Exhibit E, the Court

denied a petition for habeas corpus but discussed the inadmissibility of opinion of testimony

based on negative corpus:

       The Michigan Court of Appeals described the “negative corpus” analytical
       approach this way: “[T]he approach provides that after the elimination of any
       accidental causes of a fire, it is reasonable to infer that the fire was arson.” Pruitt,
       2014 WL 1320253 at *5. The state court acknowledged that negative corpus
       has been rejected by the National Fire Protection Association because it is
       “’not consistent with the Scientific Method’ and because ‘it generates un-
       testable hypotheses.’ ” Id. (quoting NFPA 921 § 18.6.5 (2011)). The court of
       appeals held that most of Row’s testimony did not violate Michigan Rule of
       Evidence 702, but his ultimate conclusion that the fire was intentionally set was
       inadmissible under Rule 702 because it “rested on a combination of negative



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       corpus and a reliance upon circumstantial evidence not within the purview of his
       qualification as an arson expert.”

                                      CONCLUSION

       Mr. Pike’s opinion testimony is not admissible under Fed R Evid 702 and 403.

       WHEREFORE, Plaintiff VAMEROLYN CHAPMAN respectfully requests that this

Honorable Court enter an Order excluding Kevin Pike’s opinion testimony.



Dated: October 4, 2017                            Respectfully submitted,

                                                  /s/ Jo Robin Davis_________
                                                  JO ROBIN DAVIS (P31263)
                                                  Jo Robin Davis, PLLC
                                                  Attorney for Plaintiff
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN

VAMEROLYN CHAPMAN,

                Plaintiff,                                 Case No. 15-cv-14232
                                                           Hon. John Corbett O’Meara
v                                                          Magistrate Judge Mona K. Majzoub

STATE FARM FIRE AND CASUALTY COMPANY,

              Defendant.
_____________________________________________________________________________/
JO ROBIN DAVIS (P31263)                 THOMAS M. RIZZO (P32357)
Jo Robin Davis, PLLC                    BRIAN J. GALLAGHER (P72712)
Attorney For Plaintiff                  DEVIN R. DAY (P60298)
30300 Northwestern Highway, Suite 104   RizzoBryan, P.C.
Farmington Hills, MI 48334              Attorney For Defendant
(248) 932-0100, ext. 254                220 Lyon Street NW, Suite 200
                                        Grand Rapids, MI 49503-2209
                                        (616) 451-8111
_____________________________________________________________________________/

                                       PROOF OF SERVICE

        I, Rosemarie L. Watt, hereby certify that on October 4, 2017, I electronically filed the

foregoing papers with the Clerk of the Court using the ECF system which will send notification

of such filing to all attorneys of record.


                                                   /s/ Rosemarie L. Watt___
                                                   ROSEMARIE L. WATT




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        EXHIBIT C
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                CHAPMAN v. STATE FARM FIRE AND
                      CASUALTY CO.



                               KEVIN G. PIKE




                                 April 6, 2017


                                    Prepared by




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                              www.networkreporting.com




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Case 2:15-cv-14232-AC-MKM ECF No. 21 filed 10/04/17     PageID.135   Page 66 of 112
  CHAPMAN v. STATE FARM FIRE AND CASUALTY CO.                   DEPOSITION OF KEVIN G. PIKE


                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF MICHIGAN



        VAMEROLYN CHAPMAN,

                    Plaintiff,

        vs.                                 Case No. 15-cv-14232

                                                Hon. John Corbett O’Meara

        STATE FARM FIRE AND CASUALTY

        COMPANY,

                    Defendant.

        _______________________________________/

                          DEPOSITION OF KEVIN G. PIKE

              The deposition of KEVIN G. PIKE, taken before

        CHRISTINE A. LERCHENFELD, Notary Public and Court

        Reporter, in and for the County of Macomb, State of

        Michigan, acting in the County of Oakland, on Thursday,

        April 6, 2017, at 1500 West Big Beaver Road, Second

        Floor, Troy, Michigan 48084, commencing at 10:03 A.M.

        APPEARANCES:

                    JO ROBIN DAVIS (P31263)

                    30300 Northwestern Highway, Suite 104

                    Farmington Hills, Michigan          48334

                    (248) 932-0100

                    Appearing on behalf of Plaintiff.



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  CHAPMAN v. STATE FARM FIRE AND CASUALTY CO.                                        DEPOSITION OF KEVIN G. PIKE

     1   APPEARANCES, (continued):                            1                    Troy, Michigan
     2        THOMAS M. RIZZO (P32357)                        2                Thursday, April 6, 2017
     3        220 Lyon Street NW, Suite 200                   3                      10:03 a.m.
     4        Grand Rapids, Michigan 49503                    4                    ** ** ** ** **
     5        (616) 451-8111                                  5                    KEVIN G. PIKE
     6        Appearing on behalf of Defendant.               6                    ** ** ** ** **
     7                                                        7               COURT REPORTER: Would you raise your
     8                 ** ** ** ** **                         8      right hand, please? Do you solemnly swear or affirm
     9                                                        9      to tell the truth, the whole truth and nothing but
    10                                                       10      the truth in this matter?
    11   REPORTED BY: Christine A. Lerchenfeld, CER6501      11               THE WITNESS: Yes, I will.
    12           Certified Electronic Reporter               12               MS. DAVIS: Good morning, Mr. Pike. We
    13       FOR: Network Reporting Corporation              13      are here to depose you in the matter of Chapman
    14           Firm Registration Number 8151               14      versus State Farm, pending in -- I don’t have the
    15           1-800-632-2720                              15      dep notice. Thank you. Pending in the United
    16                                                       16      States District Court for the Eastern District of
    17                                                       17      Michigan before Judge John Corbett O’Meara.
    18                                                       18                     EXAMINATION
    19                                                       19   BY MS. DAVIS:
    20                                                       20   Q I’ve deposed you before, I know a lot about your
    21                                                       21      background. Has anything changed since I last took
    22                                                       22      your deposition, which would have been in May of
    23
                                                             23      2016?
    24
                                                             24   A I actually -- this is an updated C.V. minus a dep I
    25
                                                             25      just had within the last two weeks. I haven’t got

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     1               TABLE OF CONTENTS                        1      it on there yet, but there’s one more dep after
     2                                                        2      that. And there’s some updates with some of the
     3   WITNESS                                  PAGE        3      numbers of fires and stuff I’ve done.
     4                 KEVIN G. PIKE                          4   Q Who’s the last deposition?
     5      Examination by Ms. Davis                     4    5   A It was for Allstate. Phil Yeager (ph) had it and
     6                   * * * *                              6      then Malinowski’s (ph) office was deposing me.
     7                                                        7   Q Okay. I think we have enough depositions.
     8                                                        8              MS. DAVIS: Can we mark this as an
     9   EXHIBITS:                             MARKED         9      exhibit, please?
    10     Exhibit Number 1 - Curriculum Vitae         5     10              (Exhibit Number 1 was marked for
    11     Exhibit Number 2 - 5/15/15 Note             9     11              identification at 10:05 a.m.)
    12     Exhibit Number 3 - Invoice               43       12   BY MS. DAVIS:
    13                                                       13   Q Exhibit 1 is your current and up-to-date curriculum
    14                                                       14      vitae?
    15                                                       15   A Yes.
    16                                                       16   Q Let me just take a quick look. I presume that
    17                                                       17      Rehmann, your division in Rehmann, still does 98
    18                                                       18      percent of its work for insurance companies; is that
    19                                                       19      correct?
    20                                                       20   A I would say yes. Insurance companies or attorneys
    21                                                       21      for insurance companies, yes.
    22                ** ** ** ** **                         22   Q How long have you been at Rehmann?
    23                                                       23   A I think it’s been five and a half years. It’s been
    24                                                       24      since September of 2011.
    25                                                       25   Q And what’s your position here?

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     1   A    Manager of the fire investigation group.               1       their adjusters, their special investigators, EUOs
     2   Q    I assume if there’s a fire investigation group that    2       or other scenarios, so they asked us probably seven
     3       means there’s people who investigate fires other        3       years ago to stop recording interviews.
     4       than you?                                               4   Q    So it’s for the benefit of the insured?
     5   A    Yes, there’s three other investigators.                5   A    I believe so. That’s what we were told.
     6   Q    Do all charge the same for conducting origin and       6   Q    Okay. And “Do not send a photo CD or photo log.”
     7       cause investigations?                                   7       Do you know why that is?
     8   A    Yes, we do.                                            8   A    That bottom page is instructions from the adjusters
     9   Q    And what is the current rate for conducting an         9       how they want reports sent to them. Because I
    10       investigation?                                         10       believe a lot of their stuff if sent out of state
    11   A    I believe we’re at $100 an hour.                      11       electronically and then scanned into their file. So
    12   Q    And that’s for the actual origin and cause work?      12       a lot of people don’t want the little disks hanging
    13   A    Travel, origin and cause and then there’s a mileage   13       around because they have nothing to do with them.
    14       fee.                                                   14   Q    How much of your work, this fire investigation unit,
    15   Q    And what do you charge to testify?                    15       is for State Farm?
    16   A    I believe it’s 195.                                   16   A    I don't know exact percentages, but it’s one of our
    17   Q    And that would be in court and/or deposition?         17       -- it’s probably our major client.
    18   A    Correct.                                              18   Q    Seventy-five percent?
    19   Q    How much did Rehmann charge State Farm referable to   19   A    No. I would say closer to 50 percent.
    20       this particular loss which would be the loss at the    20   Q    I’m looking at a notepad from -- can you identify
    21       Chapman dwelling at --                                 21       what this document is?
    22   A    Go back a couple pages, there’s a cover page.         22   A    It’s a handwritten note on a conversation I had with
    23   Q    That will tell me the address?                        23       Lisa Shubitowski from State Farm on May 15th, 2015.
    24   A    Yes.                                                  24   Q    Would you mind if we marked this as an exhibit?
    25   Q    Okay. Thank you.                                      25   A    Can we make a copy of it?

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     1   A    Right under the cover page there should be -- there    1   Q   That would be fine.
     2       you go.                                                 2   A   Okay. I’ll make that real quick.
     3   Q    5413 Kermit Street in Flint.                           3            (Off the record at 10:11 a.m.)
     4   A    And the question was how much did we charge?           4            (Exhibit Number 2 was marked for
     5   Q    Yes.                                                   5            identification while off the record.)
     6   A    I don't know. The invoice is in the file. I turn       6            (Back on the record at 10:13 a.m.)
     7       my hours in and then it’s produced by our billing       7   BY MS. DAVIS:
     8       department, so I never see the invoice.                 8   Q Deposition Exhibit Number 2 is a copy of that note
     9   Q    What file is in front of you?                          9      you just referenced?
    10   A    This is the same packet what you have there.          10   A Yes.
    11   Q    Can I see the rest of your file?                      11   Q You had a phone call with Ms. Shubitowski on May
    12   A    Yeah. This is just a copy of what’s in here. They     12      15th of 2015. That would be regarding your origin
    13       double-side it, so I single-side it so I can read it   13      and cause investigation?
    14       easier.                                                14   A Correct.
    15   Q    I agree. I’ve worked with you in the past. It’s       15   Q And that occurred in December of 2014, correct?
    16       generally my understanding that you record             16   A Correct.
    17       interviews, correct?                                   17   Q If I read this correctly it says, “Concern from her
    18   A    Correct.                                              18      boss why no samples were taken,” correct?
    19   Q    Why in this case did you not?                         19   A Correct.
    20   A    Because it’s State Farm’s policy that the fire        20   Q Why were no samples taken?
    21       investigators do not record interviews.                21   A Because, just like it’s listed there, in area of
    22   Q    Do you know why?                                      22      origin number 1 there was too much damage. In area
    23   A    I was at a meeting quite a few years ago about it.    23      of origin number 2 there was paint and stains in the
    24       Something about putting the insured through undue      24      area so I would have gotten a false positive. And I
    25       stress because they may record their interviews with   25      explained to her that I had two separate unconnected

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     1       fires and the samples were not needed.                   1       to the fire?
     2   Q    I see in your file there’s a real estate summary        2   A    I believe she possibly talked to fire crews or
     3       sheet. What is that?                                     3       somebody about the fire, because she was specific
     4   A    That was sent over by the -- I believe Sergeant         4       that the front door was barred and could not be
     5       Bigelow (ph) from Flint Arson.                           5       entered from the exterior and the side door, which
     6   Q    That’s one of my questions. Did you talk to             6       would be the north door, was forced open by the fire
     7       Sergeant Bigelow regarding this particular loss?         7       department is what she made in her statement to me.
     8   A    I talked to him, but he was not investigating it.       8   Q    That’s what she told you?
     9   Q    Was anybody from Flint investigating it?                9   A    Yes.
    10   A    Not that I know of.                                    10   Q    You didn’t confirm that with the fire department,
    11   Q    Did you ask him why he was not?                        11       did you?
    12   A    I don't recall what he said. He just said he wasn’t    12   A    I confirmed it off of the patterns on the doors,
    13       going to investigate it.                                13       but --
    14   Q    Did you review the Michigan Fire Incident Report       14   Q    You’re not answering my question.
    15       before you went out and conducted your origin and       15   A    With the fire department, no, I did not. I did not
    16       cause investigation?                                    16       talk to anybody other than Sergeant Bigelow.
    17   A    I don't believe so.                                    17   Q    Do you have notes of your conversation with Mrs.
    18   Q    If I remember correctly -- you’re right. It’s two-     18       Chapman?
    19       sided, it’s impossible.                                 19   A    They may -- we do them electronically on an iPad, so
    20   A    That’s why I make my own copy.                         20       I don't know if they were produced. My office sends
    21   Q    If I remember correctly, the fire report listed the    21       out the requests so I don't know if they produce the
    22       cause of ignition as unintentional. Is that your        22       electronic notes or not, but I can get them to you.
    23       understanding?                                          23   Q    Okay. That would be great. When you say you do
    24   A    Yes, it is.                                            24       them electronically you do them on an iPad?
    25   Q    Did you talk to Sergeant Bigelow about that?           25   A    Correct.

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     1   A    No, I did not. That report was produced by the fire     1   Q    So during the course of the -- when you’re talking
     2       suppression team, not Sergeant Bigelow.                  2       to her you’re inputting notes into an iPad?
     3   Q    I understand that. But once you received this did       3   A    I have a form. When we get our assignments there’s
     4       you ever talk to Sergeant Bigelow about that             4       a set of documents that we use on the scene and part
     5       finding?                                                 5       of it is an interview form. So as I’m talking to
     6   A    I don't recall specifically. I may have called him      6       her and I ask a question off the form, then I write
     7       back and told him what my findings were.                 7       the answer down and then I use that -- we read off
     8   Q    Did you ever talk to the responding firefighters who    8       that form to put everything in this report. So what
     9       filled out this Michigan Fire Incident Report?           9       was on that form is in this report.
    10   A    No, I did not.                                         10   Q    Well, where’s the form?
    11   Q    Did anybody from your office, from Rehmann, anybody    11   A    It’s probably on the electronic if it’s not printed
    12       talk to those firefighters?                             12       in the file.
    13   A    No, they did not.                                      13   Q    Well, let me see if it’s -- well, I’m saying; you
    14   Q    Did anybody talk to the firefighters to determine      14       said you handwrote something down.
    15       whether the home was locked and/or secure when they     15   A    Correct.
    16       arrived?                                                16   Q    I want to know where -- whatever that piece of paper
    17   A    That was confirmed to me by the insured during our     17       that you wrote something down on where is that?
    18       interview and then by my physical examination of the    18   A    There’s not a piece of paper, it’s electronic form
    19       scene.                                                  19       that I write physically on my iPad.
    20   Q    When was the last time Mrs. Chapman had been at the    20   Q    You write on your iPad, okay.
    21       home prior to the loss, according to what she told      21   A    And save it into the file.
    22       you?                                                    22   Q    So you write on your iPad?
    23   A    I believe she said August prior.                       23   A    Correct.
    24   Q    In August, okay. So how would she know whether or      24   Q    And the form, is that similar to the form that you
    25       not the home was locked and secure immediately prior    25       used in the past which asks you what questions --

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     1       you know, it sets forth a list of the questions that      1   Q    When you say peer review what does that involve?
     2       you should ask an insured during that time?               2   A    One of the other investigators will read through my
     3   A    It’s a form we use on every fire.                        3       report just to make sure all the components are
     4   Q     So you use the form, but the form is on your iPad       4       there.
     5       now, it’s not a piece of paper?                           5   Q    Do you dictate the report?
     6   A    Correct.                                                 6   A    Yes.
     7   Q     Wonderful. May I have a copy of that if you can get     7   Q    Where would the dictation be?
     8       it for me, please?                                        8   A    If it’s saved it would be in the electronic file,
     9   A    I have a note to email it.                               9       because we keep an electronic file.
    10   Q     Okay. When you met with Mrs. Chapman she was           10   Q    If you’ve got it can I have that?
    11       cooperative?                                             11   A    I’ll put a note down.
    12   A    Yes.                                                    12   Q    I’ve got to get the approval from Mr. Rizzo.
    13   Q     She signed the consent form with no problem?           13   A    I’ll email them to him.
    14   A    Yes. No problem. She signed the consent form            14   Q    Did you go out there, yourself, just you, alone?
    15       with --                                                  15   A    Yes.
    16   Q     She signed the consent form. She signed it. She        16   Q    On December 2, 2014?
    17       didn’t have a problem signing the consent form?          17   A    Yes.
    18   A    Correct.                                                18   Q    Do you have a copy of this invoice anywhere?
    19   Q     Okay. You said that the furnishings were consistent    19   A    It’s probably in the file, yeah.
    20       with a single-family residence; is that correct?         20   Q    Do you want to take a look at it for a second? I
    21   A    Yes.                                                    21       just want to go through it.
    22   Q     Do I have in my copy of the report all of the photos   22   A    Okay.
    23       you took?                                                23   Q    You charged $25 to get the fire report?
    24   A    A CD should have been provided, yes.                    24   A    You’d have to ask admin on that. Like I said, I
    25   Q     Well, I’ve got -- I may have the CD, but are there     25       don’t produce these. I put my hours on a timesheet.

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     1       photos in addition to those in the report?                1   Q    I understand. So you spent 4.5 hours at the loss
     2   A    Yes.                                                     2       location, right?
     3   Q    And those are photographs that you didn’t feel were      3   A    Correct.
     4       necessary to include?                                     4   Q    Did you go back when the electrical engineer went
     5   A    Correct.                                                 5       back?
     6   Q    How many origin and cause investigations do you          6   A    No, I did not.
     7       normally conduct in a week?                               7   Q    Did the electrical engineer prepare a written
     8   A    Four to five a week.                                     8       report?
     9   Q    And how many hours do they generally take? Let’s         9   A    Not that I received.
    10       say from start to finish.                                10   Q    Is the electrical engineer someone from Rehmann?
    11   A    It varies on each fire depending on reports and how     11   A    He was at the time, yeah.
    12       long I’m at the scene and how much work I have to        12   Q    If there was a report would it have been given to
    13       do. So it varies.                                        13       you?
    14   Q    Would you say this was an average investigation?        14   A    It would have been saved in the electronic file. He
    15   A    Yes.                                                    15       has his own separate file.
    16   Q    And this took you, apparently, if you look at your      16   Q    Is there -- can I get access to his file? I mean,
    17       bill, 14 hours?                                          17       there’s another file on this particular loss which
    18   A    If that’s what’s on there. I haven’t seen the bill.     18       includes the electrical --
    19   Q    Well, I’ll show you the bill. It’s attached to          19               MR. RIZZO: You know what? It’s my
    20       something. I found it somewhere.                         20       understanding he did not prepare a report.
    21   A    It would actually be, based on what I see here,         21               MS. DAVIS: That’s my understanding too,
    22       11.25 hours looks like my work, .5 hours for peer        22       but I wonder if there’s any notes.
    23       review would have been somebody else and the 3.25        23               MR. RIZZO: I have inquired about that and
    24       hours for admin would have been the admin staff, not     24       may already have an answer. Brian was looking at
    25       my work.                                                 25       that at my direction yesterday and I will get

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     1        everything he has or if there is anything and get it     1       my report.
     2        to you.                                                  2   Q    In the first paragraph.
     3                MS. DAVIS: Okay.                                 3   A    Okay.
     4   BY   MS. DAVIS:                                               4   Q    And she had owned the house since 1999?
     5   Q     The electrical guy is no longer with Rehmann?           5   A    Correct.
     6   A     No, he’s on his own.                                    6   Q    She had no plans to sell; is that correct?
     7   Q     Who is it?                                              7   A    That’s what she told me, yes.
     8   A     Tom Pawlyn, P-a-w-l-y-n.                                8   Q    Okay. And she had a mortgage on the home, but had
     9   Q     Where is he; do you know? Is he available?              9       paid it off in 2002, right?
    10   A     Yes, he’s still in Troy here. He just opened his       10   A    Yes.
    11        own company. We still work together.                    11   Q    Since she owned it she had remodeled the kitchen and
    12   Q     This case was assigned to you by a Mary Williams at    12       bathroom, installed new lights in the kitchen, new
    13        State Farm?                                             13       windows and a new roof, right?
    14   A     It was called in to Rehmann and then it was            14   A    That’s what it says here in my report, yes.
    15        assigned. I think at the time I was manager so I        15   Q    Is that what she told you?
    16        assigned myself to it.                                  16   A    That’s what -- yes. If it’s in my report that’s
    17   Q     Is there a list or checklist or anything which tells   17       what she told me.
    18        you if you’re going to assign yourself or somebody      18   Q    Okay. She also told you she had not had any other
    19        else on your team? What are the factors?                19       fire losses, correct?
    20   A     I usually try to do geographical location based on     20   A    Correct.
    21        office and where guys are stationed out of.             21   Q    And she told you the fire department had designated
    22   Q     Since you’re from Saginaw this made sense for you to   22       the cause of the fire as undetermined?
    23        take the Flint one?                                     23   A    Correct.
    24   A     Correct. And then it depends on availability.          24   Q    Those were the words she used?
    25   Q     I think you told me, but how many other                25   A    Yes.

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     1        investigators are on your team?                          1   Q    And she had told you that she had heard the fire
     2   A     Three.                                                  2       started in the basement ceiling, right?
     3   Q     And they are whom?                                      3   A    Yes.
     4   A     Dave Stayer (ph), Brandon Clostermann (ph) and Jim      4   Q    And is that consistent with your findings, that the
     5        Shinski (ph).                                            5       fire started in the basement?
     6   Q     So if you go to the portion of your report, and I       6   A    Yes.
     7        know that there’s a -- is it still true that you         7   Q    If you go down to the last paragraph she said that
     8        have kind of an outline for the reports and then you     8       she -- it says that she told you there had been two
     9        fill in the operative paths?                             9       break-ins at the house in the last month; is that
    10   A     Yes.                                                   10       correct?
    11   Q     What’s it called? I’m sorry, I’m not awake this        11   A    That’s what she told me.
    12        morning. You have a form and it goes through and it     12   Q    Did you do anything to confirm that? Did you talk
    13        has the different captions and then you fill it in,     13       to anybody at the Flint Police Department to
    14        right?                                                  14       determine whether or not there had been break-ins at
    15   A     Correct.                                               15       that loss location?
    16   Q     Okay. That doesn’t make sense, but it would if I       16   A    No, I did not.
    17        could think of the word I was looking for.              17   Q    Did you ask Detective Bigelow when you talked to
    18   A     Template?                                              18       him?
    19   Q     Template. Thank you. Now, under contact with the       19   A    No, that wasn’t part of my assignment. Only SIU
    20        insured, Ms. Chapman told you that she did not live     20       would handle that.
    21        at that loss location, correct?                         21   Q    SIU is special investigation unit for State Farm,
    22   A     That’s what she said, yes.                             22       correct?
    23   Q     And she said that her son Antonio Durand (ph) lived    23   A    Correct.
    24        there, right?                                           24   Q    You don’t have your own SIU department here, do you?
    25   A     Yes. I’m trying to make sure I’m where you’re at in    25   A    I have one guy that does that type of work, but he

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     1       was not hired on this case.                              1   Q     Well, let’s look at the photo log and see if you can
     2   Q    You told me before that you conduct your                2        find that for me.
     3       investigations consistent with the scientific            3   A     Let me see which side it was.
     4       method; is that correct?                                 4   Q     The west side.
     5   A    Yes.                                                    5   A     In the photo log I do not have a close-up for that
     6   Q    Can you explain that to me, please? What do you         6       window.
     7       mean?                                                    7   Q     Do you have a photo of it in any of the other photos
     8   A    Well, there’s steps that I take. Basically, through     8        you took?
     9       the scientific method there’s a fire, there’s an         9   A     I probably have it in the photo disk that was
    10       incident, I get assigned to it, I go out. I gather      10       provided.
    11       information, I develop a hypothesis, I test the         11   Q     I didn’t print them all out. Do you have the
    12       hypothesis and then I come up with a conclusion.        12        photos?
    13   Q    Do you develop the hypothesis before you go to the     13   A     I don’t have them printed out.
    14       home, during the course of your investigation or        14   Q     Okay. In any event, you put the photos that are
    15       after you gather all the evidence?                      15        important in your report and there’s nothing showing
    16   A    After I gather the evidence and as I’m working         16        that particular windowpane in the report, correct?
    17       through the home I’m developing a hypothesis based      17   A     No, there’s not.
    18       on what I see on my visual observations. And it’s a     18   Q     So I’m right; yes?
    19       working hypothesis till the investigation is            19   A     Yes, you’re right. There’s not one in the report,
    20       complete.                                               20       in the photo log.
    21   Q    Did you have any hypothesis other than this being an   21   Q     If you go up to the top and go to where it says
    22       incendiary fire during the course of your               22        “Exterior Examination South,” which was on the same
    23       investigation at this particular home?                  23        page, just a little higher up, do you have photos of
    24   A    I looked at everything. I mean, I didn’t walk in       24        the protected spot showing that all of the windows
    25       and say it was an incendiary fire. I mean, I looked     25        were closed and intact at the time of the fire?

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     1       at all potential causes and after I eliminated them      1   A    They would be either in the photo log and if I don’t
     2       all this was the cause that I determined this fire       2       have a close-up there they would be in the photo CD
     3       was.                                                     3       provided.
     4   Q     So you had no hypothesis other than the fact that      4   Q    Can you look and see if there’s anything in the
     5       this was an incendiary fire?                             5       photo log?
     6   A    No, that’s -- I had a hypothesis that it could be       6   A    There’s an overview showing all the windows intact,
     7       possibly an electrical fire, but I eliminated it. I      7       but there’s not a close-up of each window.
     8       looked at the mechanical in the house. Eliminated        8   Q    Which photo would that be?
     9       it. Smoking, eliminated. I can go through a bunch        9   A    Seven.
    10       of causes. You go through everything to make sure       10   Q    Pardon?
    11       you eliminate them all.                                 11   A    Photo 7.
    12   Q     So your hypothesis that the fire was incendiary is    12   Q    That’s the photograph of the south side exterior?
    13       based on your process of elimination, correct?          13   A    Correct.
    14   A    Correct.                                               14   Q    It shows two windows, right?
    15   Q     How did you determine, if you go to page 7 of 12,     15   A    There’s some down in the foundation wall that are in
    16       how did you determine that the windowpane was broken    16       the shadow.
    17       out after the events of the fire?                       17   Q    Right. Is that one that we would see in photograph
    18   A    We examine the windowpane itself and the glass and     18       number 10?
    19       if there’s staining or smoke staining on one side       19   A    That’s one of the windows on the -- you see the
    20       versus the other you can determine its condition at     20       basement window on the west side --
    21       the time of the fire.                                   21   Q    Right.
    22   Q     Do you have photographs of that particular window?    22   A    -- there. That photo is just showing the electrical
    23   A    I probably do, yes.                                    23       circuits.
    24   Q     Where would that be?                                  24   Q    Right. But you can see that from there, correct?
    25   A    Either in my photo log or the photo disk.              25   A    You can see that window, correct.

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     1   Q    Can you show me the photograph of -- if you go to       1   A    Okay.
     2       page -- excuse me, I’m not asking questions clearly.     2   Q    It says you found two distinct areas of heavier fire
     3       Go to page 8 of 12, the paragraph that says, “The        3       damage. Where would those be?
     4       entry door is a steel door with a glass storm door       4   A    What paragraph are you looking at?
     5       on the exterior.” You see that paragraph?                5   Q    It says in the basement utility area.
     6   A    Okay.                                                   6   A    Okay. One was in the southwest corner below the
     7   Q    It says, “The entry door showed multiple spots of       7       electrical service panel.
     8       forcible entry damage.” Can you show me a picture        8   Q    That would be in the paint cans?
     9       of that entry door?                                      9   A    Yeah. There was paint cans on the floor there, yes.
    10   A    Photos 23 and 26.                                      10       And the other one was in the ceiling --
    11   Q    It’s my understanding that Mrs. Chapman was not        11   Q    Kind of a rafter pack thing?
    12       there when the firefighters were there. Is that         12   A    Yes, in the area of the -- below the bathtub in the
    13       also your understanding?                                13       common wall between the bathroom and kitchen. It
    14   A    That would be my understanding.                        14       was in the ceiling there.
    15   Q    Did you talk to any of the firefighters or maybe       15   Q    Did you see any -- when you talk about the second
    16       Detective Bigelow to determine whether or not that      16       one in the rafters did you see any evidence of
    17       door was forced open by the fire crews as opposed to    17       anything incendiary? Was there anything that would
    18       somebody else?                                          18       have caught fire up there?
    19   A    Ms. Chapman told me it was forced open by fire         19   A    No. There was a lot of damage there.
    20       crews.                                                  20   Q    There was a lot of damage. You didn’t see any
    21   Q    I understand that, but did you do anything to          21       remnants of any newspaper or anything else?
    22       determine whether or not that was, in fact, correct?    22   A    No, I did not.
    23   A    I did not talk to any fire crews or Sergeant Bigelow   23   Q    How would somebody go about setting a fire in that
    24       directly about that, that I can recall. I did not       24       particular place in the ceiling of the basement?
    25       talk to fire crews.                                     25   A    In my experience I’ve had them stuff clothing up

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     1   Q    Okay. Did you do anything to determine whether or       1       there and then ignite it with either an open flame
     2       not that door was actually forced open by the fire       2       or pouring ignitable liquid on it. I’ve had them
     3       crews to gain entry to the house?                        3       use newspapers. Any combustible material they stuff
     4   A   I did not talk to anybody else.                          4       up there to get a fire going which then ignites the
     5   Q    Well, did your investigation establish, one way or      5       structural framing and then the fire smolders and
     6       another, whether or not the door was forced open by      6       burns. They also do it in that area by the
     7       the fire crews?                                          7       utilities, because then it draws the fire to other
     8   A   Based on Ms. Chapman’s statement that’s what I took      8       levels of the house and does more damage.
     9       into account, that she had accurate information for      9   Q    Did you find any evidence of any remnants of any of
    10       me on that.                                             10       these combustibles in the rafter area?
    11   Q    Okay. Did you ask her where she got that               11   A   No, I did not.
    12       information?                                            12   Q    Do you know how long the fire -- strike that. Do
    13   A   I don't recall, offhand, but what she told me I’m       13       you have a photograph of that particular area or
    14       going to put in my report and my notes that she told    14       more?
    15       me that that door was forced open by fire crews.        15   A   Which -- you talked about two areas.
    16   Q    She also told you that looters forced the door open    16   Q    I’m talking about where you saw -- no, the second
    17       after the fire?                                         17       one that we were just talking about, where it
    18   A   Yes.                                                    18       started in the ceiling.
    19   Q    Were you able to determine the difference between      19   A   The one I have in my photographs is 129, in my photo
    20       the forcing open that she told you was done by the      20       log. I know there’s more in the photo CD. And then
    21       fire department as opposed to the forced entry done     21       I have photo 100 also shows some.
    22       by the looters?                                         22   Q    And then the other area you considered was the
    23   A   Not specifically, no.                                   23       southwest corner below the electrical. Do you have
    24   Q    I believe you found on page -- if you go to page 9     24       a photo or photos of that?
    25       of 12.                                                  25   A   Photo 106 and photo 111.

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     1   Q    Wait a minute. 106 shows a bunch of paint cans.         1   A    No, I did not.
     2       The bucket in the front of the photo what was that       2   Q    Did you ask her what damage had been done to the
     3       made of?                                                 3       home by the looters?
     4   A    There’s three buckets there.                            4   A    I don't recall if I did or not, to be honest.
     5   Q    Okay. There’s a gray bucket.                            5   Q    Other than them -- what did you say that you -- you
     6   A    It looks like it’s a plastic bucket.                    6       said you saw evidence that they tried to take the
     7   Q    It didn’t melt?                                         7       water heater. What was that evidence?
     8   A    It melted some, but not completely.                     8   A    I believe it was cutting of some of the piping.
     9   Q    Where did it melt? Because I can only see the part      9   Q    Was any of the copper taken out of the house?
    10       that shows it didn’t melt.                              10   A    I don't recall any being taken, no.
    11   A    You see the fire towards the back of the picture on    11   Q    And apart from the water heater you don't know what
    12       the wall?                                               12       else they tried to take or did take; is that
    13   Q    Yes.                                                   13       correct?
    14   A    It would have melted on the side that’s not visible    14   A    Correct.
    15       in this photograph.                                     15   Q    Do you know whether any arrests were made?
    16   Q    Do you have a photo of it being visible somewhere?     16   A    No, I don’t.
    17   A    I possibly -- I do not in my photo log, but I          17   Q    In addition to the looters didn’t Mrs. Chapman tell
    18       possibly do in my CD provided.                          18       you there had been two break-ins to the home in the
    19   Q    Did any of the contents of these paint cans or cans    19       month prior to the loss?
    20       ignite?                                                 20   A    Yes, she did.
    21   A    I don't know if they actually ignited, but some of     21   Q    Did you ask her how those people had broken into the
    22       them opened and had leaking product.                    22       home?
    23   Q    Did any explode?                                       23   A    I don’t believe I did. She just said they broke in.
    24   A    It does not look like any exploded.                    24       She had no other information.
    25   Q    When you say open and leaking product what does that   25   Q    I know you’re familiar with NFPA 921, correct?

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     1       mean to you?                                             1   A    Yes.
     2   A    That means that the can is open and whatever the        2   Q    Do you agree with me -- let’s see. I’ve got the
     3       contents are is leaking out.                             3       2014 edition. Do you believe that the determination
     4   Q    I understand that, but would that have been caused      4       of the cause of a fire requires the identification
     5       by the fire?                                             5       of those factors that were necessary for the fire to
     6   A    It could have been. It could have been caused by        6       have occurred?
     7       suppression, it could have been caused by somebody       7   A    Yes.
     8       manipulating them.                                       8   Q    Do you agree that those factors include the presence
     9   Q    Let’s talk about suppression. I know that you were      9       of a competent ignition source, the type and form of
    10       out there I think 11 days after the fire; is that       10       the first fuel ignited and the circumstances such as
    11       right?                                                  11       failures or human actions that allowed the factors
    12   A    Yes.                                                   12       to come together to start the fire? Do you agree?
    13   Q    Do you know what happened to the loss location         13   A    Yes.
    14       during those 11 days?                                   14   Q    Okay. Were you able to identify the fuels in the
    15   A    Between suppression and me being out there?            15       area of origin at the time of the fire?
    16   Q    You being out there, yeah.                             16   A    There was the common combustibles. There was the
    17   A    No, I don’t.                                           17       paint cans and there were some other materials down
    18   Q    I think Mrs. Chapman told you that there had been      18       on the floor and then the structural framing.
    19       looters in the home during that period of time; is      19   Q    You took those samples, right?
    20       that correct?                                           20   A    That’s correct.
    21   A    Yes.                                                   21   Q    You say common combustibles. What were they?
    22   Q    Did you ask her what they had taken?                   22   A    I’ve got to recall what was down there.
    23   A    I saw evidence of them trying to get the water         23   Q    Okay.
    24       heater.                                                 24   A    It looked like some paper products or possibly some
    25   Q    Did you ask her what they had taken?                   25       rags down there. And there was actually a wood

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     1       pallet.                                                  1       origin that was on the ground and one was up in the
     2   Q    A wood what?                                            2       ceiling of the basement, right?
     3   A    Pallet.                                                 3   A    Yes.
     4   Q    Did the wood pallet show evidence of having been        4   Q    So there could not have been a trailer attaching the
     5       burned?                                                  5       two?
     6   A    Yes, it had fire damage to it.                          6   A    I didn’t see evidence of a trailer.
     7   Q    Do you agree with the following in 19.6.5.1, “Cause     7   Q    Would you agree with the following, and this is from
     8       undetermined” and I’m going to quote, “In all            8       Kirk’s Fire Investigation.
     9       circumstances where all hypothesized fire causes         9   A    Which edition?
    10       have been eliminated and the investigator is left       10   Q    Seventh. “It should be noted that multiple points
    11       with no hypothesis that is evidenced by the facts of    11       of ignition are not necessarily proof of arson.
    12       the investigation the only choice for the               12       Flames from a large ordinary combustible fire can
    13       investigator is to conclude the fire cause or           13       melt and ignite the polystyrene light diffusers used
    14       specific causal factors remains undetermined”?          14       in ceiling fixtures, draperies or the asphalt from a
    15   A    I agree with that statement, but that’s not            15       collapsing roof.” Do you agree with that? I know
    16       prevalent in this investigation.                        16       we didn’t have any of that here, but do you agree
    17   Q    Good answer, but I’m just asking if you agree. Do      17       with that?
    18       you agree with the following, which is the rest of      18   A    Can I see the --
    19       this paragraph, “It is improper to base hypotheses      19   Q    Of course. It’s under the paragraph that says,
    20       on the absence of any supportive evidence”?             20       “False Multiple Origins.”
    21   A    I agree with that but, again, it’s not prevalent.      21   A    I would agree that those are some false -- could be
    22   Q    I’m just asking if you agree.                          22       false positives for multiple sets.
    23   A    I agree with that.                                     23   Q    So sometimes -- all I’m asking is there are
    24   Q    Okay. Do you agree with the following sentence; “It    24       circumstances if you have two sets that it may not
    25       is improper to opine a specific fire cause, ignition    25       necessarily be arson. You would agree with that?

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     1       source, fuel or cause classification that has no         1   A    Yes. Not two sets, two areas of origin.
     2       evidence to support it, even though all other such       2   Q    Two areas of origin. What was the ignition source?
     3       hypothesized elements were eliminated”?                  3   A    Open flame.
     4   A    I agree with that.                                      4   Q    And that’s based on using evidence of just ruling
     5   Q     Okay. Now you’re saying, and I’m going to have to      5       everything else out, right?
     6       ask you why, why don’t -- why doesn’t this               6   A    Well, and putting together the totality of all the
     7       particular paragraph apply to this particular fire?      7       circumstances that’s the only thing I couldn’t
     8   A    Because I have a hypothesis that can say how this       8       eliminate as starting this fire.
     9       fire started and I have the supporting evidence of       9   Q    What other options did you consider?
    10       an incendiary fire.                                     10   A    I considered them all. Electrical and spontaneous
    11   Q     You have no samples, right?                           11       combustion. I looked at smoking, asked about
    12   A    Correct, but I have other evidence that supports an    12       candles.
    13       incendiary fire.                                        13   Q    What percentage of the time that you investigated
    14   Q     What other evidence do you have that supports an      14       fires for State Farm did you find the fire to have
    15       incendiary fire?                                        15       been incendiary?
    16   A    I have two separate and unconnected fires and I        16   A    I don't know a percentage.
    17       also --                                                 17   Q    Do you do investigations for them on their
    18   Q     And the significance of that is?                      18       subrogation work, as well?
    19   A    That fires simultaneously in two different locations   19   A    Yes.
    20       are not normal. I should say if you have two            20   Q    That would be when they sue the -- in your opinion
    21       separate and unconnected fires burning at the same      21       why don’t you describe what subrogation is?
    22       time it’s an indicator of an incendiary fire.           22   A    When a product or an action or somebody is found
    23   Q     Always?                                               23       liable for the cause of the fire the insurance
    24   A    Not always, but in this case, yes.                     24       company may go after that person that’s liable for
    25   Q     If I understand you correct, there was one area of    25       their losses.

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     1   Q    So the insurance company is reimbursed for whatever     1   A    I think --
     2       they pay out to the insured if they can prove a          2   Q    Was it about this case?
     3       product caused the loss, right?                          3   A    I think she asked me if I was coming to be deposed
     4   A   I guess. I don't know -- I know the Reader’s Digest      4       and I said yeah. I don't remember speaking any
     5       version.                                                 5       details of -- I talk to her on multiple occasions.
     6   Q    Okay. When you are investigating fire losses that       6   Q    Right. Do you bill for those phone calls?
     7       do not involve subrogation would you say at least 75     7   A    That one I didn’t, no.
     8       percent of the cases that you look at you determine      8   Q    Do you bill for some of the phone calls?
     9       the fire cause is incendiary?                            9   A    When the case is open and I’m actively working on a
    10   A   I couldn’t put a number on how many are incendiary      10       case, yes.
    11       versus --                                               11   Q    But other than that you don’t?
    12   Q    You’ve never figured it out?                           12   A    Not always, no.
    13   A   I’ve never sat down and looked at numbers to see how    13   Q    If you had talked to Ms. Shubitowski in any detail
    14       many are incendiary versus accidental versus the        14       about this particular loss would there have been a
    15       causes. I never sat down and looked at those            15       billing record produced or created as a result of
    16       numbers.                                                16       that?
    17   Q    Have you ever found a fire cause to be undetermined?   17   A    If she was asking for further work. Once the case
    18   A   Oh, yes.                                                18       is closed, she calls me to talk about something I’ll
    19   Q    Do you have a report that shows undetermined?          19       talk to her and not bill her.
    20   A   Oh, yeah.                                               20   Q    How many open cases do you have with Ms. Shubitowski
    21   Q    Okay. Did you smell any gasoline or any ignitable      21       as the representative of State Farm?
    22       liquid when you were in the home?                       22   A    Open cases?
    23   A   I don't recall smelling any, no.                        23   Q    Well, cases -- let’s say how many -- strike that.
    24   Q    Well, if you had you would have put it in your         24       How many origin and cause investigations have you
    25       report, right?                                          25       done for State Farm that involved Ms. Shubitowski in

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     1   A    Yes.                                                    1       the last year?
     2   Q    You did no investigation as to if this fire was         2   A   A handful. Maybe four or five. And that’s off the
     3       incendiary who may have set it, did you?                 3       top of my head, because I’d have to look back
     4   A    No, I did not.                                          4       because I normally don’t get my assignments from Ms.
     5   Q    Did you talk to Ms. Shubitowski about that at all       5       Shubitowski.
     6       during your conversation in May of 2015?                 6   Q    Right. You get your assignments from the adjuster
     7   A    I talked to her about my cause of the fire. That’s      7       and then she gets involved, right?
     8       what I was hired to do is make a determination on        8   A   Correct.
     9       how the fire started.                                    9   Q    How many cases do you have that you’ve had in the
    10   Q    Did you talk to her about suspicions she may have      10       last year that she’s been involved with?
    11       had or you may have had regarding who may have set      11   A   I know one because it’s still active. I’m going to
    12       this fire?                                              12       it tomorrow. But --
    13   A    I don't recall any exact details of that               13   Q    You’re going to it tomorrow, being the loss location
    14       conversation other than the note that I have in the     14       or a deposition?
    15       file.                                                   15   A   The loss location to investigate it tomorrow.
    16   Q    Did you have any conversations with Ms. Shubitowski    16   Q    Okay.
    17       about this particular loss other than that May 2015     17   A   But other than that I don't recall offhand how many,
    18       conversation?                                           18       other than that one, specifically.
    19   A    I’m sure I have, yes.                                  19   Q    The only time you were at this loss location was
    20   Q    Are there notes pertaining to those conversations?     20       December 2 of 2015?
    21   A    No.                                                    21   A   I believe so.
    22   Q    Do you recall when you last spoke to Ms.               22   Q    Is it 2015?
    23       Shubitowski?                                            23   A   Yeah, it was 2015.
    24   A    I believe it was last week.                            24   Q    `14. I think --
    25   Q    What did you guys discuss?                             25   A   Sorry. December of `14.

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     1   Q     The last time you were there, the only time you were    1      engineer.
     2        there, was December 2nd of 2014?                         2               MR. RIZZO: What’s the date?
     3   A    Correct.                                                 3               THE WITNESS: The 5th. December 5th.
     4   Q     What were the purposes in preparing this report?        4   BY MS. DAVIS:
     5   A    It was requested by the client that I prepare a          5   Q Would any and all contacts you had with anybody from
     6        report.                                                  6      State Farm during this period of time be referenced
     7   Q     And it says you sent a copy to Mary Williams. Did       7      in this invoice?
     8        you send a copy to anybody else?                         8   A Not necessarily in the invoice. That’s just -- like
     9   A    Not that I recall off the top of my head.                9      I said, I don't recall. That’s the time I have
    10   Q     I presume the photographs that you took were those     10      noted that I spoke with the client.
    11        you felt were relevant to the goal of your              11   Q You have a note from a May 2015 phone call with Lisa
    12        investigation?                                          12      Shubitowski. Do you have notes of any other
    13   A    I guess I don’t understand the question.                13      conversations you may have had with her prior to the
    14   Q     I don’t blame you. The photographs in the log          14      preparation of your written report?
    15        what’s the significance of the photographs attached     15   A No, I do not.
    16        to the report?                                          16   Q It says peer review. Who was the peer that you
    17   A    I go through my photographs after I -- as I’m making    17      reviewed this report with?
    18        my report and pull a number of them out to highlight    18   A I don't know. I’d have to go back through the
    19        specific areas of the house and show a reference to     19      timesheets and figure out who. There’s three other
    20        the cause of the fire.                                  20      guys on the team, so I peer-review all theirs as the
    21   Q     Did you have an opportunity to speak to Ms.            21      manager, but mine it might be whoever is available
    22        Shubitowski after you did your investigation, but       22      at that time. I don't know who did it.
    23        before you prepared your written report?                23   Q And that took a half an hour and it was basically
    24   A    I’m trying to recall on this, because I don't know      24      somebody else on your team reading your report,
    25        if I talked to her -- I don't recall specifically.      25      right?

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     1   Q     You went out there and I’m going to look back at        1   A   Correct.
     2        your invoice.                                            2   Q    Did the person who reviewed it make any changes?
     3                MS. DAVIS: If we can mark this as an             3   A   Not that I recall, no.
     4        exhibit.                                                 4   Q    Did they have any questions?
     5                (Exhibit Number 3 was marked for                 5   A   Not that I recall, no.
     6                identification at 11:05 a.m.)                    6   Q    When you talked to Detective Bigelow did you ask him
     7   BY   MS. DAVIS:                                               7       whether or not there had been any recent arson fires
     8   Q     I have attached your -- marked your invoice as          8       in the neighborhood or on the street?
     9        Exhibit 3; is that correct?                              9   A   I don't recall specifically discussing that with
    10   A     Yes.                                                   10       him.
    11   Q     Okay. It says that you went out there on December 2    11   Q    Did you ever discuss the prevalence of arson fires
    12        of 2014, right?                                         12       in the city of Flint with Detective Bigelow?
    13   A     Yes.                                                   13   A   For this case, specifically or in general?
    14   Q     You spent 4.5 hours doing an origin and cause          14   Q    In general.
    15        investigation, photograph and document loss site,       15   A   I’m sure him and I have talked about fires in Flint
    16        right?                                                  16       in general.
    17   A     Correct.                                               17   Q    What would those conversations consist of?
    18   Q     Okay. It says on December 5th, 2014 you had contact    18   A   I can't recall. I talked to him numerous times.
    19        with client. Who would you have been in touch with      19   Q    I just read and I don’t have it with me, the NFPA
    20        or do you know who you would have been in touch         20       came out with some classifications and said that
    21        with?                                                   21       Flint has the second most amount of fires, just
    22   A     In this case it would have been Mary Williams.         22       fires to residential property in the country. Would
    23   Q     You’re sure?                                           23       you agree with that?
    24   A     That’s who -- yeah, she’s the one who hired me. I      24   A   Without seeing the document that you read I wouldn’t
    25        would call her to get approval for an electrical        25       make an opinion on it.

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     1   Q    Would you disagree with that?                           1   A   Yes, I did.
     2   A    Again, not seeing the document, I want to see the       2   Q    Did you talk to Bigelow about your findings?
     3       source of what you’re asking me --                       3   A   I don’t specifically recall calling him back. I may
     4   Q    It was -- I thought I had it, but I don’t.              4       have, but I don’t note a specific call on this case
     5   A    They have a lot of fires.                               5       to him. Normally I would call him back and tell him
     6   Q    Yeah, Flint has a lot of fires. Actually, I think       6       what I found.
     7       Detroit was first and Flint was second. That             7   Q    Is there any particular reason you didn’t talk to
     8       wouldn’t surprise you?                                   8       the responding firefighters?
     9   A    That wouldn’t surprise me.                              9   A   I believe the information I had from the scene could
    10   Q    Were there any fire patterns that led to your          10       make my call -- my determination from what I had and
    11       conclusion that there were multiple points of origin    11       I didn’t feel it necessary to talk to them on this
    12       in this case?                                           12       case.
    13   A    Yes.                                                   13               MS. DAVIS: Thanks. I don’t have any
    14   Q    Show me what they are.                                 14       other questions.
    15   A    They were in the pictures we described earlier.        15               MR. RIZZO: Thank you.
    16       There was the fire on the floor in the southwest        16               (Deposition concluded at 11:14 a.m.)
    17       corner near the paint cans, on the pallet, and then     17                     ** ** ** ** **
    18       10 to 12 feet away to the north there was a fire in     18
    19       the ceiling. Those are two distinct fire patterns.      19
    20   Q    When you finished your investigation on December 2nd   20
    21       had you reached an opinion as to the origin or cause    21
    22       of this particular -- had you reached an opinion as     22
    23       to the cause of this fire?                              23
    24   A    On this, let me think back. Probably I had a           24
    25       hypothesis, but I didn’t reach my final conclusion      25


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     1       until after I got a report from Mr. Pawlyn.              1   STATE OF MICHIGAN )
     2   Q    A verbal report, right?                                 2               ) ss.
     3   A    Correct.                                                3   COUNTY OF MACOMB )
     4   Q    And your hypothesis was that this was an incendiary     4
     5       fire, correct?                                           5               I certify that this transcript, consisting
     6   A    Correct.                                                6   of forty-eight (48) pages, is a complete, true, and
     7   Q    And that’s because you couldn’t rule out any other      7   correct transcript of the testimony of KEVIN G. PIKE held
     8       -- you ruled out -- strike that. You ruled out all       8   in this case on April 6, 2017.
     9       other potential causes for this particular fire,         9               I also certify that prior to taking this
    10       right?                                                  10   deposition KEVIN G. PIKE was sworn to tell the truth.
    11   A    At which time? On the 2nd or after I spoke with Mr.    11               I also certify that I am not a relative or
    12       Pawlyn?                                                 12   employee of or an attorney for a party; or a relative or
    13   Q    Well, obviously after you spoke with Mr. Pawlyn you    13   employee of an attorney for a party; or financially
    14                                                               14   interested in this action.
             ruled out electrical, right?
    15                                                               15
         A    Correct. But my strong working hypothesis on the
    16                                                               16
             2nd was that I had an incendiary fire because I had
    17                                                               17
             multiple sets.
    18                                                               18
         Q    And I think you told me, but I forgot. Why didn’t
    19                                                               19                ___________________________________
             you take samples?
    20
                                                                     20                Christine A. Lerchenfeld, CER6501
         A    Because in the one area there was the paint and
                                                                     21                Notary Public, Macomb County, Michigan
    21       stain cans that would have given me a false positive
                                                                     22                My Commission Expires: 07/07/2020
    22       and in the other area there was no material left
                                                                     23
    23       because of the damage to take any sample.
                                                                     24
    24   Q    When you were a firefighter did you ever fill out a
                                                                     25
    25       Michigan Fire Incident Report?

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        EXHIBIT D
 CaseInsurance
Owners 2:15-cv-14232-AC-MKM
               Company v. White, SlipECF
                                     Copy No.  21
                                          (2014)            filed 10/04/17      PageID.164         Page 95 of 112
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                                                             property is a defunct winery. On October 9, 2011, a
                                                             fire started in a pile of boxes and wine bottles in the
                2014 WL 12461045
                                                             rear left corner of an unoccupied building. The property
   Only the Westlaw citation is currently available.
                                                             did not have utilities services and was unoccupied, so
            United States District Court,
                                                             an accidental fire seems unlikely. However, there is no
         N.D. Georgia, Gainesville Division.
                                                             direct evidence indicating that the fire was the result of an
        Owners Insurance Company, Plaintiff,                 intentional act either. The case exemplifies a surprisingly
                        v.                                   common insurance koan: If a fire starts in a building and
           Dewey C. White and Mulberry                       nobody knows why, is it a covered loss?
          Community, LLC, Defendants.
                                                             Plaintiff contends the loss qualifies as “vandalism”
        CIVIL ACTION NO. 2:12-cv-00233-WCO                   damage to “vacant” property, which is excluded under
                         |                                   the policy. (See Policy 16, ECF No. 1-1) (excluding
                 Signed 01/23/2014                           “vandalism” damage if “the building where loss
                                                             or damage occurs has been vacant for more than
Attorneys and Law Firms                                      60 consecutive days”). Defendants contend there is
                                                             insufficient evidence to establish that the damage qualified
Mark Thomas Dietrichs, Melissa Kaye Kahren, Swift,           as “vandalism.” Both parties seek to advance their
Currie, McGhee & Hiers, LLP, Atlanta, GA, for Plaintiff.
                                                             theories of the case through expert testimony on the fire's
                                                             cause and origin. Both parties have a pending motion to
James Stuart Teague, Jr., Keisha Leigh Martin
                                                             exclude the opposing party's cause and origin expert.
Chambless, Teague & Chambless, LLP, Cumming, GA,
for Defendants.
                                                             I. Defendants' Motion to Exclude William Dodd
                                                             Plaintiff hired William Dodd, a certified fire investigator,
                        ORDER                                to determine the fire's cause. Dodd visited the site on
                                                             October 26, 2011. Dodd found extensive damage to the left
William C. O'Kelley, Senior United States District Judge
                                                             side of the building. He concluded the fire originated in a
 *1 The court has before it for consideration defendants'    pile of wine bottles and cardboard boxes in the back left
motion to exclude the testimony of William Dodd [51],        portion of the building. Dodd did not find any evidence
plaintiff's motion to exclude the testimony of Loren         indicating the use of an accelerant.
Griswold [44], plaintiff's motion for summary judgment
[45], and defendants' motion to strike errata to the         With no satisfactory answer at this point, Dodd looked
deposition of Travis Dunigan [52].                           for any evidence indicating an accidental cause. Dodd
                                                             immediately eliminated electrical and mechanical issues
Defendants' motion to exclude Dodd's testimony is            because the building did not have working utilities.
granted in part. Dodd may not testify that the fire at       Additionally, the building was unoccupied, so Dodd
issue was intentional based on his inability to identify     eliminated manufacturing and domestic mishaps from the
an accidental cause; the remainder of his testimony          list of potential causes. Dodd also eliminated a weather
is permissible. Plaintiff's motion to exclude Griswold's     event, like a thunderstorm, as a potential accidental
testimony is granted. Plaintiff's motion for summary         cause because there were not any thunderstorms near
judgment is granted in part; defendants' counterclaim        the property around the time of the fire. Finally, Dodd
for breach of fiduciary duty (Count III) is dismissed.       eliminated careless smoking as a potential fire cause
Defendants' motion to strike errata to the deposition of     because the heat from a cigarette would not be sufficient
Travis Dunigan is granted.                                   to start a fire in corrugated cardboard and wine bottles
                                                             unless it was in “an insulated environment.” (Dodd Depo.
Plaintiff, Owners Insurance Company, filed this              63, ECF No. 35-1).
declaratory judgment action to determine whether a fire
on the insured property constitutes a covered loss. The       *2 Dodd did not find a satisfactory explanation based
                                                             on an accidental cause. Therefore, Dodd concluded that


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the fire was intentionally set “using the available materials
and a match or lighter as the ignition source.” (Dodd
Expert Report 1, ECF No. 38-1). The inference is                    A. Standard of Review
known as “negative corpus.” As Dodd explained in his             If scientific, technical, or other specialized knowledge will
deposition:                                                      assist the trier of fact to understand or to determine a
                                                                 fact in issue, the court may allow testimony on the fact
            Well again, using negative corpus,                   in issue by a qualified witness. See FED. R. EVID. 702.
            you have no electrical or mechanical                 “The use of ‘science’ to explain how something occurred
            fire causes to cause it. You have                    has the potential to carry great weight with a jury ...
            an unoccupied building that is not                   [and] the trial judge plays an important role as the gate-
            occupied. I had no identifiable                      keeper in monitoring the evidentiary reliability of such
            ignition source there, so again—                     testimony.” Mich. Millers Mut. Ins. Corp. v. Benfield,
            identifying the cause of the fire. So                140 F.3d 915, 920 (11th Cir. 1998). The court acts as
            by process of elimination, there was                 a “gatekeeper” against pseudoscience by ensuring that
            nothing there accidentally to cause                  “any and all scientific testimony or evidence admitted is
            the fire, thereby believing it was                   not only relevant, but reliable.” See Daubert v. Merrell
            an intentional act. And I did find                   Dow Pharm., Inc., 509 U.S. 579, 589 (1993). “Scientific
            evidence of vandalism there. I had                   knowledge” is admissible, but speculation and subjective
            broken bottles everywhere.                           assessments are not. See id. at 590.

Dodd Depo. 58, ECF No. 35-1.                                     Expert testimony is admissible when: (1) the expert is
                                                                 qualified to testify competently regarding the matters he
Negative corpus is a term of art in the fire investigation       intends to address; (2) the methodology by which the
community. The practice allows a fire investigator               expert reaches his conclusion is sufficiently reliable as
to determine what started the fire—the “ignition                 determined by the sort of inquiry mandated in Daubert;
source” in causation parlance—and classify the fire              and (3) the testimony assists the trier of fact, through the
as intentionally set if the investigator examines and            application of scientific, technical, or specialized expertise,
eliminates all accidental causes. See NAT'L FIRE                 to understand the evidence or to determine a fact at issue.
PROTECTION ASS'N, NFPA 921: GUIDE FOR FIRE                       Trammel v. Paxton, 2008 WL 7514367, at *4 (quoting
AND EXPLOSION INVESTIGATIONS § 18.6.5 (2011)                     United States v. Frazier, 387 F.3d 1260 (11th Cir. 2004)).
(“NFPA 921”). 1                                                  The party offering the expert testimony has the burden of
                                                                 establishing the admissibility of the testimony. Allison v.
1      NFPA 921 classifies fires as undetermined,                McGhan Med. Corp., 184 F.3d 1300, 1321 (11th Cir. 1999).
       accidental, or incendiary. Both parties used the terms
       “intentional” and “incendiary” interchangeably.
       There is a slight difference between the two. An            B. Dodd May Testify About the Facts He Uncovered
       incendiary fire is “a fire that has been deliberately       During His Investigation
       ignited under circumstances in which the person            *3 Dodd may testify about his investigation of the
       knows the fire should not be ignited.” NFPA 921           property and his process for eliminating accidental fire
       § 22.1 (2011). In other words, intentionally setting      causes. Defendants do not contest Dodd's qualifications
       the fire is necessary but not sufficient to label a       as a fire investigator. Instead, defendants contend that he
       fire as incendiary; the NFPA's definition includes        did not adequately eliminate potential accidental ignition
       the additional requirement that the person knew           sources. (Mot. Exclude 8-9, ECF No. 51-1). Defendants
       that the fire should not have been started under the      point to Dodd's failure to collect or test fire debris, to
       circumstances.
                                                                 determine the weather conditions on the day of the fire,
Defendants believe that Dodd's testimony is inadmissible         and to adequately eliminate accidental human actions as
in its entirety. Defendants contend that Dodd's physical         the fire's cause.
investigation of the property was inadequate and that his
use of the negative corpus methodology to classify the fire      To the extent that Dodd's observations during his
as incendiary is impermissible.                                  investigation can be considered an expert opinion,


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defendants' perceived defects with Dodd's investigation        Plaintiff contends that other sections of NFPA 921
are better explored through cross-examination rather           support Dodd's conclusion. Plaintiff points to section
than the wholesale exclusion of Dodd's testimony. The          22.2.3, which illustrates when the process of elimination
court's role as a gatekeeper is to assess the proposed         can be used to classify a fire as incendiary:
expert's methodology, not the conclusions generated by
the methodology. See McDowell v. Brown, 392 F.3d 1283,                     When the fire damage at the origin
1298 (11th Cir. 2004) (“[A] court should meticulously                      is inconsistent with the known or
focus on the expert's principles and methodology, and                      reported fuel load, limited rates of
not on the conclusions that they generate.”) (citation                     heat release, or limited potentially
omitted). Whether Dodd properly eliminated potential                       accidental ignition sources, the fire
accidental causes goes towards the weight rather than the                  may be incendiary. An example of
admissibility of his testimony. See Daubert, 509 U.S. at                   all three is an isolated burn at floor
596 (1993) (“Vigorous cross-examination, presentation of                   level in a large, empty room.
contrary evidence, and careful instruction on the burden
                                                                *4 NFPA § 22.2.3 (2011).
of proof are the traditional and appropriate means of
attacking shaky but admissible evidence.”).
                                                               Plaintiff's argument conflates the process of elimination
                                                               with the negative corpus methodology. NFPA 921 did
   C. Dodd's Conclusion That the Fire Was the Result of        not abolish the process of elimination as a legitimate
   an Intentional Act is Inadmissible                          scientific technique. The process of elimination remains
Defendants also object to Dodd's use of negative corpus.       a cornerstone of the scientific method. However, the
Defendants point to recent changes to NFPA 921. In             scientific method does not allow an investigator to opine
2011, the NFPA amended NFPA 921 and expressly                  on what started the fire when there is no evidence supporting
rejected the use of negative corpus as a method for            his opinion. As the heading to NFPA § 18.6.5 states,
classifying a fire as “incendiary.” The NFPA condemns          negative corpus is an “inappropriate use of the process
negative corpus as “not consistent with the Scientific         of elimination.” Dodd concluded that a match or lighter
Method” and states that it “should not be used because it      started the fire because those are the two most likely
generates un-testable hypotheses ...” NPFA 921 § 18.6.5        things an individual would use, not because he found any
(2011). Defendants argue that Dodd's methodology is            evidence indicating the use of either.
inconsistent with authorities in his field and inadmissible
under FRE 702. The court agrees.                               However, plaintiff's argument and the NFPA hypothetical
                                                               suggest a middle ground not advocated by plaintiff: Is it
The NFPA clearly rejects the use of negative corpus as         permissible for Dodd to testify that the fire was incendiary
a violation of the scientific method. The methodology          based on the lack of credible accidental causes? The court
does not generate testable hypotheses. A hypothesis            believes the question must be answered in the negative and
based on negative corpus is not testable or falsifiable        finds the district court's reasoning in Somnis v. Country
by experimental techniques. Opinions based on negative         Mutual Insurance Company persuasive. 840 F. Supp. 2d
corpus should be excluded as unreliable and inapposite to      1166 (D. Minn. 2012).
the principles undergirding Rule 702.
                                                               In Somnis, a fire investigator concluded that a fire in a
Plaintiff argues that NFPA 921 does not form the               homeowner's house was the result of an intentionally set
“standard of care” for cause and origin investigations         fire after the investigator eliminated all accidental fire
and cites caselaw finding that a “lack of compliance with      causes. Id. at 1169. The homeowner filed a motion to
NFPA 921 does not disqualify” a cause and origin expert.       exclude the investigator's opinion.
(Resp. Mot. Exclude 13, ECF No. 58) (citing Nelson v.
Gen. Elec. Co., 2006 WL 5537590, 2006 U.S. Dist. LEXIS         The court concluded that the investigator's opinion, which
97474, at *24 (N.D. Ga. Aug. 1, 2006) (Evans, J.)). That       he reached by using the negative corpus methodology,
may be true, but a lack of compliance with the scientific      was inadmissible. The court noted that the investigator's
method certainly disqualifies an expert witness.               opinion amounted to no more than an inference that the
                                                               absence of an accidental explanation suggested that the


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fire was incendiary. Id. at 1172. Accordingly, the court           suggested that Griswold was to act solely as a rebuttal
perceived “no reason why an expert [was] necessary to              witness to Dodd's testimony. However, defendants'
draw that inference for the jury.” Id. The investigator            statements at the hearing on the pending motions
did nothing more than draw an inference that the jury              indicate that defendants plan to offer Griswold for
was capable of drawing on its own. Id. at 1173 (quoting            two purposes: to refute Dodd's opinion and to offer
United States v. Hines, 55 F. Supp. 2d 62, 64 (D. Mass.            his opinion that, based on his own investigation, the
1999) (“Simply put, ‘expert testimony may be admitted              fire should be categorized as “undetermined” instead of
[only] where the inferences that are sought to be drawn are        “incendiary.” Plaintiff seeks to have Griswold excluded
inferences that a jury could not draw on its own.’ ”)).            due to defendants' violation of Rule 26 and asserts that
                                                                   Griswold's testimony does not satisfy the Daubert criteria.
The court also highlighted the interplay between FRE 403           The court finds that Griswold's testimony should be
and 702. Considering the powerful effect that scientific           excluded as a result of defendants' failure to comply with
testimony dispensed by an expert can have on a jury,               Local Rule 26.2. Therefore, the court will not address
the court was particularly concerned that allowing the             plaintiff's objections to the reliability of Griswold's
investigator's opinion “might lead the jury to simply              testimony.
rely on the expert's opinion” rather than make its own
determinations on matters within its competence. Id.
(quoting Tuli v. Brigham& Women's Hosp., Inc., 592 F.                 A. Defendants Failed to Comply with Local Rule 26
Supp. 2d 208, 212 (D. Mass. 2009) (“Permitting [the                Griswold's testimony should be excluded based on the
investigator] to draw an inference that the jury can reach         interplay between the federal and local rules governing
on its own would do ‘little more than put [ ] his imprimatur       expert disclosures. Rule 26(a)(2)(A) requires a party to
on the [insurance company's] case.’ ”)).                           disclose the identity of any expert witness the party may
                                                                   use at trial to present evidence. This disclosure must be
The court believes that Somnis' reasoning is sound. Dodd's         accompanied by an expert report prepared and signed by
opinion is that the absence of accidental causes suggests          the witness unless the court stipulates or directs otherwise.
that the fire was incendiary. This is a reasonable inference       See FED. R. CIV. P. 26(a)(2)(B). Therefore, “ ‘[d]isclosure
and one that the NFPA appears to accept as permissible             of expert testimony within the meaning of [Rule 26]
in section 22.2.3. However, scientifically permissible and         contemplates not only the identification of the expert, but
legally admissible are not synonyms. “[N]othing in either          also the provision of [the expert's] written report.’ ” Reese
Daubert or the Federal Rules of Evidence requires a                v. Herbert, 527 F.3d 1253, 1265 (11th Cir. 2008). Under the
district court to admit opinion evidence that is connected         federal rules, this disclosure must be made at least ninety
to existing data only by the ipse dixit of the expert.” Gen.       days before the date set for trial, subject to an exception if
Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). The jury            the expert will be used solely as a rebuttal witness. FED.
does not need an expert to draw inferences within the              R. CIV. P. 26(a)(2)(D).
jury's competence; an expert who does so fails to provide
“helpful” testimony under Rule 702. See Frazier, 387 F.3d          However, the local rules require a more prompt disclosure
at 1262-63 (“Proffered expert testimony generally will not         than the federal rules. Local Rule 26.2(C) requires a party
help the trier of fact when it offers nothing more than what       to designate a witness as an expert “sufficiently early in
lawyers for the parties can argue in closing arguments.”)          the discovery period to permit the opposing party the
(citation omitted). Dodd may testify that he could not             opportunity to depose the expert....” Read together, these
identify an accidental cause for the fire, and the jury will be    two rules require a party to produce the expert's report
fully capable of concluding whether the lack of accidental         prior to the close of discovery. See OFS Fitel, LLC v.
causes and other evidence at trial is sufficient to find for       Epstein, Becker and Green, P.C., 549 F.3d 1344, 1362 (11th
the plaintiff.                                                     Cir. 2008) (“The syllogism in Reese appears to be: (1)
                                                                   the expert must be deposed before the close of discovery
                                                                   (Local Rule 26.2(C)), (2) the report must come before the
II. Plaintiff's Motion to Exclude Loren Griswold                   expert's deposition (Rule 26(b)(4)(A)), and (3) therefore
 *5 Plaintiff filed a motion to exclude Loren Griswold,            the expert's report necessarily must come before the close
defendants' expert witness on the fire's cause and                 of discovery.”); see also Reese v. Herbert, 527 F.3d 1253,
origin [44]. Defendants' pleadings and motions initially           1264-65 (11th Cir. 2008). If a party fails to do so, then


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the tardy party shall not be permitted to offer the expert          Rule 26.2(C) does not allow defendants to avoid the
testimony unless the court expressly finds that the failure         exclusion of their expert even if the untimely disclosure
to comply with Local Rule 26 was justified. See LR                  was harmless. See LR 26.2(C) (allowing untimely expert
26.2(C), NDGa.                                                      testimony only if the failure to comply was “justified”); see
                                                                    also Williams v. Energy Delivery Servs., 2005 WL 5976570,
Defendants failed to produce Griswold's expert report               at *3 (N.D. Ga. Sept. 6, 2005) (interpreting Fredick v.
prior to the close of discovery. Discovery concluded                Mercedes-Benz USA, LLC, 3366 F. Supp. 2d 1190 (N.D.
on August 16, 2013. Defendants filed Griswold's expert              Ga. 2005) and concluding that the plain language of Local
report on October 2, 2013, nearly fifty days after the close        Rule 26.2(C) does not allow the admission of untimely but
of discovery. (Notice Filing, ECF No. 48-1). Therefore,             harmless expert testimony); compare LR 26.2(C), NDGa,
defendants clearly violated Local Rule 26.2(C). The                 with FED. R. CIV. P. 37(c)(1). Therefore, Griswold's
remaining question is whether that failure was justified.           testimony shall be excluded because defendants did not
                                                                    comply with Local Rule 26.2(C).

  B. Defendants' Failure Was Not Justified
Defendants' failure to tender a timely expert report was            III. Defendants' Motion to Strike Errata
not justified. During the hearing on the pending motions,           Defendants also filed a motion to strike errata to Travis
defendants' counsel accused plaintiff of “sandbagging”              Dunigan's deposition [52]. Dunigan is plaintiff's field
by producing important documents late in the discovery              claims representative who investigated the fire. (Mot.
period, which limited defendants' ability to develop their          Strike 2, ECF No. 52-1). On July 9, 2013, defendants
case. The court would be sympathetic to defendants'                 took Dunigan's deposition. According to the federal rules,
argument if Griswold were still relevant as a rebuttal              Dunigan had until August 9 to submit an errata sheet
witness. However, Griswold's assessment of Dodd's                   with any changes to his testimony. See FED. R. CIV.
opinion is no longer necessary because Dodd's opinion               P. 30(e). Dunigan did not submit his errata sheet until
has been excluded. Since Dodd's opinion on the fire's               August 23, 2013. (Mot. Strike 2, ECF No. 52-1). Dunigan
cause was excluded, Griswold's only purpose is to testify           made fourteen changes to his deposition testimony; the
as to whether the fire was accidental, intentional, or              reason listed for each change is either “incorrect” or
undetermined.                                                       “clarification.” (See Errata Sheet, ECF No. 52-2).

 *6 A party's failure to comply with Local Rule 26.2(C)'s           Defendants wish to strike Dunigan's errata sheet as
disclosure requirement is “not justified when the party             untimely and claim that some of the changes are
knew or should have known that an expert was necessary              material alterations to Dunigan's testimony that should be
before the late stages of the discovery period.” Coyote             disallowed. (Mot. Strike 5-7, ECF No. 52-1).
Portable Storage, LLC v. PODS Enters., Inc., 2011 WL
1870593, at *2 (N.D. Ga. May 16, 2011) (Totenberg, J.)              Plaintiff claims that the parties reached a mutual
(citation omitted). Defendants knew that whether the fire           agreement to provide deponents with additional time
was intentional would be the linchpin of this litigation;           to complete their errata sheets. (Pl.'s Resp. 3-4, ECF
plaintiff made that clear as early as its initial disclosures in    No. 61). The confusion results from counsels' apparent
January 2013. (Initial Disclosures 3, ECF No. 12) (listing          inability to directly contact each other. Plaintiff requested
“[w]hether the fire resulted from the intentional act of a          two extensions to file Dunigan's errata sheet with the
person” as a legal issue to be tried) (emphasis added).             court reporter's office. Plaintiff did not hear an objection
Defendants had no reason to wait until the twilight of              from defendants, so plaintiff assumed the extension was
the discovery period to have an expert conduct a site               acceptable.
investigation and form conclusions based on that site
investigation. (See Am. Initial Disclosures, ECF No. 33).           Around the same time, defendants requested additional
                                                                    time to file the errata sheet for a different deposition.
Defendants claim that even if the court finds that their            Defendants also made their request to the court reporter
expert disclosure was untimely, Griswold's testimony                rather than to plaintiff. However, the court reporter
should not be excluded because plaintiff suffered no                contacted plaintiff's counsel and actually secured her
harm or prejudice. (Defs.' Resp. 18, ECF No. 49). Local


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acquiescence to an extension, which the court reporter               was heavily overgrown with brush, vines, and trees. The
then forwarded to defendants' counsel.                               overgrowth was thick enough that the firefighters called in
                                                                     a brush truck to clear a path to the flaming structure. By
Plaintiff “believed, in good faith, that the parties had             the time that the firefighters gained access to the structure,
mutually agreed to provide their respective deponents”               the fire died out due to a lack of fuel.
with extensions of time to submit their errata sheets.
(Pl.'s Resp. 4, ECF No. 61). The court understands why               Lieutenant Darst, a member of Barrow County
plaintiff's counsel may have reached that conclusion, but            Emergency Services, returned to investigate the property
the simple fact is that plaintiff's belief does not matter.          the next day. The outside of the building appeared to be
Securing an extension from the court reporter is not the             in disrepair. The area outside the building was littered
equivalent of getting opposing counsel's consent. Pursuant           with broken glass from wine bottles, and vines had grown
to Rule 30(e), Dunigan had thirty days from the date of              over the undamaged concrete portions of the building.
his deposition to submit an errata sheet. Dunigan failed to          Darst found the interior of the building in a similar state.
submit his errata sheet within that thirty day window, and           The building's principal occupants were wine bottles and
defendants did not consent to an extension. Therefore,               boxes. Darst found misspelled profanity spray-painted
Dunigan's errata sheet is untimely and shall be excluded.            on an interior wall. After examining the building, Darst
See, e.g., Welch v. Mercer Univ., 304 Fed.Appx. 834,                 concluded that the fire originated in the back left portion
837-38 (11th Cir. 2008).                                             of the building in a pile of wine bottles and cardboard
                                                                     boxes. He did not find proof of any accelerant or
                                                                     other evidence tending to indicate arson. Darst ultimately
IV. Plaintiff's Motion for Summary Judgment                          concluded that the fire was the result of an “undetermined
 *7 The court now turns to plaintiff's motion for summary            human act” and that the fire “probably” qualified as an
judgment [45]. Plaintiff contends the loss qualifies as              intentional fire.
“vandalism” damage to “vacant” property, which is an
exclusion under the policy. (See Compl. Ex. A 16, ECF                Plaintiff assigned Travis Dunigan, one of its claims
No. 1-1) (excluding “vandalism” damage if “the building              adjusters, to inspect the damage. Dunigan's field notes
where loss or damage occurs has been vacant for more                 include the following entry: “Don't feel I can show intent
than 60 consecutive days”). Plaintiff also seeks summary             (vandalism) that the fire was set rather than a fire just got
judgment on defendants' counterclaims for bad faith                  out of hand....” After inspecting the property, Dunigan
denial of insurance coverage and breach of fiduciary duty.           could not say whether the fire was an intentional act or
                                                                     the result of an accident. Dunigan acknowledged that the
                                                                     fire could have been an accident rather than an act of
    A. Findings of Fact 2                                            vandalism.
2       The court's findings of fact primarily draw from
        defendants' statement of undisputed material facts
        because plaintiff did not file a response to defendants'        B. Standard of Review
        statement of undisputed material facts as part of its        Summary judgment is appropriate where “the movant
        reply. Therefore, the court deems defendants' facts as       shows that there is no genuine dispute as to any
        admitted because plaintiff did not file a response. See      material fact and the movant is entitled to judgment
        LR 56.1(B)(1-3), NDGa.                                       as a matter of law.” FED. R. CIV. P. 56(a). The
Defendant Dewey White purchased the property on                      moving party may demonstrate the absence of a genuine
August 26, 2004. (Statement Material Facts ¶ 1, ECF No.              dispute as to any material fact by “citing to particular
45-2). The property is a defunct winery in a wooded area.            parts of materials in the record, including depositions,
White did not set up electrical service or utilities services        documents, electronically stored information, affidavits
at any point after he purchased the property.                        or declarations, stipulations ... admissions, interrogatory
                                                                     answers, or other materials.” Id. at 56(c)(1)(A). The
On October 9, 2011, Barrow County Emergency Services                 moving party “always bears the initial responsibility of
responded to a fire at the property. Initially, the                  informing the district court of the basis for its motion” by
firefighters could not get to the fire because the area              identifying the evidence “which it believes demonstrate[s]



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the absence of a genuine issue of material fact.” Celotex         The insurance contract disallows coverage for
Corp. v. Catrett, 477 U.S. 317, 323 (1986).                       “vandalism” damage to “vacant property.” The relevant
                                                                  section reads:
 *8 This initial responsibility is discharged when the
movant shows that there is no dispute of material fact or         If the building where a loss or damage occurs has been
that the non-moving party has failed to present evidence          vacant for more than 60 consecutive days before that loss
in support of some element of its case on which it bears          or damage, we will:
the ultimate burden of proof. Id. at 322–23. Once the
moving party has met its initial burden, the nonmoving            Not pay for any loss or damage caused by any of the
party must “go beyond the pleadings,” and, utilizing              following even if they are Covered Causes of Loss:
its own evidentiary submissions or those already filed,
demonstrate that there is a genuine dispute of material fact        (1) Vandalism;
such that a trial is required. Id. at 324. The non-movant
                                                                    (2) Sprinkler leakage ...;
“must present affirmative evidence in order to defeat
a properly supported motion for summary judgment.”                  (3) Building glass breakage;
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 257 (1986).
The evidence of the non-movant is to be believed and all            (4) Theft; or
justifiable inferences are to be drawn in favor of the non-
                                                                    (5) Attempted theft.
movant. Id. at 255. In addition to the materials cited by
the parties, the court may also refer to other materials in
                                                                  The policy defines “vacancy” as when the damaged
the record. FED. R. CIV. P. 56(c)(3).
                                                                  building “does not contain enough business personal
                                                                  property to conduct customary operation.” Vandalism is
“An issue of fact is ‘material’ if, under the applicable
                                                                  not a defined term in the policy.
substantive law, it might affect the outcome of the case.”
Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1259-60
(11th Cir. 2004) (citing Allen v. Tyson Foods, Inc., 121 F.3d
642, 646 (11th Cir. 1997)). An issue of fact is considered                       2. Plaintiff Contends the Fire
“genuine” if the “record taken as a whole could lead a                           Was the Result of Vandalism
rational trier of fact to find for the non-moving party.”
Hickson Corp., 357 F.3d at 1260. “Where the record                Plaintiff urges this court to find that the damage to
taken as a whole could not lead a rational trier of fact          defendants' property was vandalism damage to a vacant
to find for the non-moving party, there is no genuine             structure. Plaintiff claims that Georgia law has found that
issue for trial.” Allen, 121 F.3d at 646 (quoting Matsushita      damage from an intentionally set fire is vandalism. (See
Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587         Mot. Summ. J. 13, ECF No. 45). Plaintiff points to the
(1986)). The moving party is entitled to “judgment as a           Eleventh Circuit's decision in American Mut. Fire. Ins. Co.
matter of law” when the non-moving party fails to make            v. Durrence, 872 F.2d 378, 379 (11th Cir. 1989) (finding
a sufficient showing of an essential element of the case on       that a “common sense interpretation” of an insurance
which the non-moving party bears the burden of proof.             provision excluding vandalism damage to vacant property
Celoxtex Corp., 477 U.S. at 322. Summary judgment is              would apply to “a fire set in a vacant house by an unknown
inappropriate “where the facts specifically averred by [the       arsonist or vandal”).
non-movant] contradict facts specifically averred by the
movant.” Lujan v. Nat'l Wildlife Fed., 497 U.S. 871, 888          Plaintiff believes that defendants may not recover under
(1990).                                                           the policy if: (1) the fire was the direct result of vandalism;
                                                                  (2) the fire was the unintentional result of vandalism; (3)
                                                                  the fire was the result of an intentional act; or (4) the fire
  C. The Parties' Positions on Summary Judgment                   was the result of arson. Accordingly, plaintiff claims it is
                                                                  entitled to summary judgment because there is no genuine
                                                                  issue of material fact that the fire resulted from one of the
                1. The Insurance Contract
                                                                  preceding acts.



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                                                                 Among these rules for contract construction is that “the
                                                                 whole contract should be looked to in arriving at the
                                                                 construction of any part.” O.C.G.A. § 13-2-2(4). The court
        3. Defendants Claim the Policy Does Not
                                                                 “must approach the policy language with an eye toward
       Cover Vandalism Damage, Arson Damage,
                                                                 whether the relevant language is facially susceptible to
           and Damage Due to Accidental Fires
                                                                 multiple interpretations.” See Nationwide Mut. Fire Ins.
 *9 Defendants look to the policy as a whole and claim           Co. v. Dillard House, Inc., 651 F. Supp. 2d 1367, 1377
the insurance policy draws a distinction between “fire”          (N.D. Ga. 2009). If an insurance contract is capable of
and “vandalism” damage. Defendants point to multiple             being construed two ways, it will be construed against the
places in the policy where the policy distinguishes between      insurance company and in favor of the insured. Claussen
vandalism and fire as distinct risks of direct physical loss     v. Aetna Cas. & Sur. Co., 380 S.E.2d 686, 688 (1989).
or covered losses. (See Defs.' Resp. 7-10, ECF No. 53).          “This principle is especially true with respect to exclusions
Defendants maintain that fire damage of any sort is a            from coverage sought to be invoked by the insurer.”
covered loss. Defendants claim that the cases cited by           Dillard House, Inc., 651 F. Supp. 2d at 1377 (quoting
plaintiff are inapplicable because the cases have different      Yeomans & Assocs. Agency, Inc. v. Bowen Tree Surgeons,
vacancy exclusions or operative policy language. (Id. at         Inc., 618 S.E.2d 673, 679 (2005) (internal quotation marks
17-18). Defendants conclude that plaintiff is not entitled       omitted)); see also Ryder Truck Rental, Inc. v. St. Paul
to summary judgment because a genuine issue of material          Fire & Marine Ins. Co., 540 F. Supp. 66, 69 (N.D. Ga.
fact exists as to whether the damage to the insured              1982) (“Words of exclusion will be given small tolerance
property falls into the vandalism to vacant property             when insurance companies choose words of imprecision.”)
damage exclusion.                                                (citation omitted) (internal quotation marks omitted).



  D. Plaintiff is Not Entitled to Summary Judgment on its
                                                                     2. Fire and Vandalism Are Distinct Causes of Loss
  Vandalism Exclusion Claim
                                                                 The court finds that the policy is ambiguous. Given that
     1. Standards of Insurance Contract Construction             ambiguities in the insurance policy are to be construed
                                                                 against the insurer, the court holds that plaintiff is not
Georgia law requires this court to examine the contract          entitled to summary judgment for two reasons. First, it
as a whole. Ryan v. State Farm Mut. Auto. Ins. Co.,              is ambiguous whether damage from an intentionally set
261 Ga. 869, 872 (1992). The reviewing court “must               fire should be categorized as covered “fire” damage or
take into consideration the ordinary and legal meaning           excluded “vandalism” damage. Second, even if vandalism
of the words employed in the insurance contract.” Id.            unambiguously included intentionally set fires, there
(citation omitted). If the contract's terms are plain            remains a genuine issue of material fact whether the fire
and unambiguous, then the contract must be enforced              was intentionally set.
as written. Id. (citation omitted). If the contract is
ambiguous, then any ambiguity should be construed in             Fire and vandalism are listed as separate and distinct
favor of the insured. Id. (citation omitted).                    “causes of loss” throughout the policy. The policy
                                                                 expressly distinguishes between fire and vandalism as
An ambiguity exists when “the plain words of a contract          “specified causes of loss.” (Policy 32, ECF No. 1-1). While
are fairly susceptible of more than one written meaning.”        the policy excludes vandalism damage to vacant property,
Alea London Ltd. v. Am. Home Servs., Inc., 638 F.3d 768,         the policy does not list fire damage in the vacancy
773 (11th Cir. 2011) (citation omitted). When a contract         exclusion. The policy clearly provides coverage for fire
provision is ambiguous, Georgia courts “apply the rules          damage to vacant property. Therefore, the operative
of contract construction to resolve the ambiguity.” Id.          question is whether the damage in this case should be
(quoting Certain Underwriters at Lloyd's of London v.            considered fire damage or vandalism damage.
Rucker Constr., Inc., 648 S.E.2d 170, 174 (Ga. Ct. App.
2007) (internal quotation marks omitted)).                        *10 In effect, plaintiff asks the court to find that
                                                                 vandalism includes all intentionally set fires. However, the



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insurance policy does not evince the intent necessary to          glass, and stolen property all typically result in low-level,
sustain such an expansive definition. The policy covers           nonstructural damage.”); see also United Cap. Corp. v.
fire damage, with no distinction between damage caused            Travelers Indem. Co. of Ill., 237 F. Supp. 2d 270, 276-77
by accidental fires, intentionally set fires, and arson.          (E.D.N.Y. 2002) (noting that “[t]he entire destruction
The court will not retroactively redraft the contract to          of the building by fire does not seem to be consistent
expand an exclusion by narrowing a covered cause of               with” the “less catastrophic losses” listed in an identical
loss. If plaintiff wanted to limit fire damage coverage           vacancy exclusion). The court finds further support for
to accidental occurrences, it could have easily done so.          its interpretation in the policy's limitation on damage to
The insurance policy expressly limits covered losses to           glass that is part of a building or structure. The limitation
accidental occurrences at other points in the policy. (Id.)       provides that the insurance company will not pay above
(defining water damage as the “accidental discharge or            a certain value for “loss of or damage to glass that is
leakage of water or steam”).                                      part of a building or structure.... This Limitation does not
                                                                  apply to loss or damage by the ‘specified causes of loss,’
In fact, the commercial general liability form appears to         except vandalism.” (See Policy 29, ECF No. 1-1) (emphasis
expressly contemplate this situation. The general liability       added).
form excludes bodily injury “arising out of heat, smoke
or fumes from a ‘hostile fire’ ....” (Id. at 49). A “hostile      The court acknowledges that vandalism can be broadly
fire” is defined as a fire that “becomes uncontrollable or        defined to include any and all intentional damage to
breaks out from where it was intended to be.” (Id. at             property but finds that such an expansive definition is
62). This language squarely addresses how plaintiff could         unsupported by the policy's language. Additionally, even
have written the vacancy exclusion to unambiguously               if the court found that vandalism included all intentional
exclude intentionally set fires. When the court examines          property damage, plaintiff has not provided sufficient
the policy as a whole, it appears obvious that plaintiff          evidence to demonstrate that the fire was intentionally
cannot reasonably maintain that “vandalism” includes              set. As discussed above, plaintiff can do no more than
“hostile fires” where plaintiff “itself chose not to include      establish the absence of accidental causes, which is not
easily available form language that would have readily            equivalent to proving that the fire was intentionally set.
provided the necessary specificity.” See Crawford v. Gov't        Therefore, summary judgment is inappropriate.
Emps. Ins. Co., 771 F. Supp. 1230, 1238 (S.D. Ga. 1991)
(quoting Ranger Ins. Co. v. Culberson, 454 F.2d 857, 863
(5th Cir. 1972)).                                                   E. Defendants' Claim for Bad Faith is Not Properly
                                                                    Before the Court
Additionally, the policy itself appears to contemplate             *11 Plaintiff also requests summary judgment on
that vandalism amounts to no more than juvenile facial            defendants' counterclaim for bad faith refusal to pay
damage to the property. Generally, an ambiguous word              an insurance claim. Plaintiff's motion is denied because
may be given more precise content by the neighboring              defendants' O.C.G.A. § 33-4-6 claim is not properly before
words with which it is associated. See Freeman v. Quicken         the court.
Loans, Inc., 132 S. Ct. 2034, 2042-43 (2012). This principle,
known as noscitur a sociis, recognizes that what may be           Defendants filed a motion for leave to amend their answer
ambiguous in isolation could be informed by its context.          and counterclaim [34]. The court granted defendants'
                                                                  motion, extending them leave to file their amended
The vacancy exclusion precludes property damage for               answer and counterclaim [56]. However, defendants never
damage caused by vandalism, sprinkler leakage, building           filed their proposed amended answer and counterclaim.
glass breakage, theft, and attempted theft. One word              Accordingly, defendants do not have a pending claim
immediately comes to mind when examining whether                  under § 33-4-6 at this time. Therefore, plaintiff's summary
these words share a common element: petty. These                  judgment request as to this claim is moot.
excluded losses suggest damage on the order of a fender
bender rather than a total loss. Cf. R & J Dev. Co., LLC
                                                                    F. Plaintiff is Entitled to Summary Judgment on
v. Travelers Prop. Cas. Co. of Am., 2012 WL 1598088, at
                                                                    Defendants' Claim for Breach of Fiduciary Duty
*3 (E.D. Ky. May 7, 2012) (“Leaky sprinklers, broken



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Finally, plaintiff requests summary judgment on
defendants' claim for breach of fiduciary duty. Plaintiff         V. Conclusion
correctly notes that any claim for extra-contractual              Defendants' motion to exclude the testimony of William
damages based on allegations that an insurer refused              Dodd [51] is hereby GRANTED IN PART. Dodd may
in bad faith to pay a claim must be brought under                 not testify that the fire at issue was intentional based
O.C.G.A. § 33-4-6. See, e.g., Howell v. So. Heritage Ins.         on his inability to identify an accidental cause; the
Co., 448 S.E.2d 275, 275 (Ga. Ct. App. 1994). Defendants          remainder of his testimony is permissible. Plaintiff's
apparently recognize the futility of this claim and did           motion to exclude the testimony of Loren Griswold [44]
not discuss their breach of fiduciary duty claim in their         is hereby GRANTED. Defendants' motion to strike errata
response to plaintiff's motion for summary judgment.              to Travis Dunigan's deposition [52] is hereby GRANTED;
                                                                  Dunigan's errata sheet is hereby STRICKEN. Plaintiff's
Section 33-4-6 provides the exclusive remedy for an               motion for summary judgment [45] is GRANTED IN
insurer's bad faith refusal to pay insurance proceeds.            PART. Plaintiff is entitled to summary judgment on
McCall v. Allstate Ins. Co., 310 S.E.2d 513, 515-16 (Ga.          defendants' counterclaim for breach of fiduciary duty
1984). Additionally, Georgia courts have consistently             (Count III), and the remainder of the motion is DENIED.
held that the insurer-insured relationship does not
itself impose fiduciary responsibilities upon the insurer.
                                                                  IT IS SO ORDERED, this 23 rd day of January, 2014.
SeePrime Mgmt. Consulting & Inv. Servs., LLC v. Certain
Underwriters at Lloyd's London, 2007 U.S. Dist. LEXIS
94987, at *15 (N.D. Ga. Dec. 28, 2007) (collecting cases).        All Citations
Therefore, plaintiff is entitled to summary judgment on
defendants' claim for breach of fiduciary duty (Count III).       Slip Copy, 2014 WL 12461045

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         EXHIBIT E
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                                                                        long as a petitioner was incarcerated at the time a
                                                                        petition is filed. Spencer v. Kemna, 523 U.S. 1, 7
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                                                                        (1998).
    Only the Westlaw citation is currently available.
             United States District Court,
          E.D. Michigan, Southern Division.                                          BACKGROUND

             Audrey PRUITT, Petitioner,                           Pruitt's convictions arise from a fire at her home in
                        v.                                        Buena Vista Township in November 2009. The Michigan
           Anthony STEWART, Respondent.                           Court of Appeals described the circumstances leading to
                                                                  Petitioner's convictions as follows:
                   Case No. 2:15-cv-10812
                              |                                     In December 2008, Mary Liddell sold defendant a home
                    Signed 05/23/2017                               located in Buena Vista Township, Michigan. Defendant
                              |                                     purchased the home on a $9,000 land contract, putting
                     Filed 05/25/2017                               $700 down and making payments of $350 per month.
                                                                    The land contract required defendant to obtain renter's
Attorneys and Law Firms                                             insurance and Liddell to maintain her homeowner's
                                                                    insurance on the property. The contract also indicated
Audrey Pruitt, Ypsilanti, MI, pro se.
                                                                    that if anything happened to the home, defendant would
Christopher M. Allen, Michigan Attorney General, Laura              not receive any proceeds from Liddell's insurance.
Moody, Michigan Department of Attorney General,                     While the land contract did not require defendant to
Lansing, MI, for Respondent.                                        obtain homeowner's insurance, she nonetheless entered
                                                                    into a homeowner's insurance policy with State Auto
                                                                    Insurance (State Auto) on September 4, 2009, insuring
                                                                    the home for $87,000 and personal property for
     OPINION AND ORDER DENYING PETITION
                                                                    $60,900.
       FOR WRIT OF HABEAS CORPUS AND
    DENYING CERTIFICATE OF APPEALABILITY                            Two months later, on November 10, 2009, the home
                                                                    caught fire. Diana Diaz, who lived across the street
STEPHEN J. MURPHY, III, United States District
                                                                    from defendant, was looking through her living room
Judge
                                                                    window when she saw defendant's truck go by and
 *1 The case sounds in habeas under 28 U.S.C. §                     then saw smoke billowing from defendant's roof. Diaz
2254. Petitioner Audrey Devonne Pruitt challenges her               called 911. Patrick Brown, who resided next to Diaz,
convictions for arson of a dwelling house, burning of               was outside smoking a cigarette on the morning of the
insured property, and insurance fraud. At the time she              fire and saw defendant drive to a stop sign at the end
filed the petition, Pruitt was in the custody of the                of the street. Brown went inside, got something to eat,
Michigan Department of Corrections. She has since                   and when he came back out, saw smoke coming from
                                                                    defendant's home.
been unconditionally discharged from custody. 1 She
claims that the trial court erred in admitting expert               Another neighbor, David Thomas, was also outside
witness testimony regarding the cause of the fire, trial            that morning when he looked up and saw black smoke
counsel was ineffective in failing to object to the expert          coming from defendant's home. As Thomas started
witness's testimony, and that offense variable 19 was               toward defendant's home, he saw defendant driving
incorrectly scored. Respondent argues that the claims are           down the street. Thomas ran toward defendant's car
procedurally defaulted, not cognizable on habeas review             and tried to get her attention by yelling her name
and are without merit. For the reasons below, the Court             and waving, but defendant kept driving. Thomas then
will deny habeas relief.                                            walked over to Diaz, who was in her front yard and
                                                                    confirmed that she had already called 911. According to
1      Pruitt's discharge does not defeat § 2254's “in custody”     Thomas, fire trucks arrived 10 to 15 minutes later.
       requirement because the requirement is satisfied as



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                                                                 Row also took into consideration the observations of
   *2 Firefighters received a call from dispatch at 9:37         Diaz.
  a.m. and arrived at defendant's home at 9:53 a.m.
  Upon arrival, grayish-brown smoke was escaping from               4
                                                                     Row said he asked defendant a multitude of
  eaves and soffits of defendant's home, suggesting that           questions, including: whether she had turned
  a “heavy working structure fire” was inside. According           everything off when she left the home, had poured
  to one of the firemen, the fire had spread to the living         grease into the trashcan, or had any circuit breaker
  room along the ceiling but was most intense along the            trips recently; whether there had been any problems
  back wall of the kitchen between the refrigerator and the        with the stove; whether she had to use a match to light
  stove; a burnt “v” pattern on the wall at that location          the pilot, and; whether there were candles or incense
  indicated the fire's point of origin. The firefighters           in the home.
  extinguished the fire and the fire captain conducted an
  investigation of the property that same day.                   Row then recounted to the jury his visual observations
                                                                 of the exterior and interior of the home, displaying
  Fire Captain Craig Gotham, qualified as an expert              photographs he had taken during his investigation. He
  in fire cause and origin, testified that he investigated       testified that both the gas and electric meters were
  the cause of the fire after it was extinguished. He            intact and that neither could have caused the fire.
  testified that he ruled out accidental causes because the      Row said that, once inside the home, he systematically
  refrigerator's electrical wiring and the stove's gas fitting   went through the rooms and observed evidence of fire
  were “clean.” He found a can of aerosol starting fluid         damage. According to Row, he was able to rule out
  (ether) by a loveseat that was burnt at its spray-nozzle.      certain rooms as the origin of the fire based on the level
  Gotham also testified that he talked to defendant on           of damage to personal belongings in the rooms. Based
  the day of the fire. She told him that she left her home       on his observations of low-level burn damage in the
  around 9:30 that morning to go shopping with her               kitchen, Row testified that the origin of the fire was an
  mother and that she had cooked breakfast sandwiches            empty “Rubbermaid or Hefty style 33 gallon” garbage
  approximately an hour earlier. She also indicated that         can between the stove and refrigerator at or near floor
  she did not smoke or use incense or candles.                   level. The fire damage in this area extended all the way
                                                                 to the floor, where the trashcan had “melted down into
  Keith LaMont, a Michigan State Police forensic
                                                                 a big blob of plastic.” Row testified that analysis of the
  analyst, testified that he tested some charred remains
                                                                 refrigerator cord indicated that it was not the cause of
  taken from the home, but found no ignitable liquid
  within the samples. LaMont explained that ignitable            the fire. 5
  liquid, such as the starter fluid found in defendant's
                                                                    5
  home, could have been used but been completely                     Jason McPherson, qualified as an expert in the
  consumed by the fire. This was because the ether                 field of electrical engineering, testified that he assisted
  contained in the starter fluid found at the scene was            Row with the origin and cause study by evaluating
  “very volatile” and could either evaporate or be quickly         the power cord to the refrigerator. According to
  consumed by the fire, thereby decreasing the likelihood          McPherson, the cord showed no signs that it was the
  of its detection.                                                origin of the fire; rather, the condition of the cord
                                                                   merely indicated that it had been burnt by the fire.
  David Row.... was qualified as an expert in the field
  of fire investigation. Row testified that there are “four      Having determined the origin of the fire, Row explained
  processes” used in conjunction to establish the origin         that his next task was to determine its cause. Row
  of the fire, including witness information, burn pattern       testified that two considerations are relevant in this
  analysis, arc mapping, and fire dynamics evaluation.           regard, including what material was ignited and what
  [ ] Row indicated that he began his investigation by           ignition source is hot enough to start the fire, as well as
  questioning defendant regarding her activities on the          witness statements. Row then stated:

  day of the fire. 4 Row said that defendant told him that         So in this particular case, what I believe was ignited
  she left the home around 9:30 on the morning of the fire.        was the trashcan and whatever contents there may
                                                                   have been in the trashcan. This is a pretty thick


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    plasticized material. I've done quite a bit of testing         personal items, which was composed of multiple
    on these garbage cans to see, you know, how easily             pages of personal property less than one-year old
    they burn versus, you know, how difficult it is to keep        and listed several expensive items such as a sewing
    them burning, and part of it depends on what was put           machine, commercial meat slicer, and a DJ mixing
    inside the trashcan in order to help the trashcan catch        table. The inventory did not, however, list any sewing-
    fire.                                                          related materials, like needles, thread, or cloth, and
                                                                   did not include the amplifier necessary for the DJ
    But the biggest issue in this particular circumstance is       table to function. Upon further investigation, State
    that I have been able to, by my process of elimination         Auto found that defendant's reported income in 2009
    here, and by my scientific methodology that I've               was only $5,800, while the inventory indicated that
    followed, I have been able to establish that there is          defendant had purchased personal property totaling
    no electrical, mechanical or chemical causation for            approximately $23,000 within the past year. State
    this fire, so the only other plausible explanation is          Auto's investigation also determined that the fire was
    there had to be some kind of an introduction of an             intentionally set and that witnesses had seen defendant
    open flame to this trashcan and the contents of this
                                                                   driving away from her burning home. 7 Because an
    trashcan in order for it to be able to ignite.
                                                                   intentional act was not covered under the policy,
   *3 Row then repeated that defendant told him she                State Auto denied defendant's claim. Subsequently,
  left her home at 9:30 a.m. and that Diaz saw smoke               defendant was charged with and convicted of arson
  emanating from the home's soffit area as defendant               of a dwelling house, arson of insured property, and
  drove away. Row then explained:                                  insurance fraud.

    Now, this is a 1,090 square foot house.... So I'm going           7
                                                                        State Auto deposed defendant as part of its
    to give them the benefit of the doubt and say this is             investigation; she told State Auto that she left her
    approximately 9,000 cubic feet of air that now has                house on the morning of the fire at 8:50 a.m., contrary
    to be displaced with smoke to the point where the                 to the testimony of her neighbors.
    smoke is now under pressure and it's forcing itself out
    through the eaves....                                        People v. Pruitt, No. 313065, 2014 WL 1320253, *1–3.

    So, what then could generate 9,000 cubic feet of             Following a jury trial in Saginaw County Circuit Court,
    smoke in that short of a period of time? And based           Pruitt was convicted and sentenced as follows: 30 months
    upon my observations of where the origin of the fire         to 20 years imprisonment for arson of a dwelling house, 5
    is and what the causation of the fire is, i.e. an open       months to 10 years for burning insured property, and 17
    flame application to the trashcan, that trashcan could       months to 4 years for insurance fraud. She filed an appeal
    not have generated 9,000 cubic feet of smoke in the          in the Michigan Court of Appeals and argued that the
    time it would have taken her to basically get into her       trial court admitted Row's expert testimony in violation
    car and drive down the street.... It just isn't physically   of Michigan Rule of Evidence 702, that her defense
    possible.                                                    counsel was ineffective in failing to object to the admission
                                                                 of Row's testimony, that several offense variables were
    ... [T]he fire would have had to have been in progress       incorrectly scored, and that the imposition of a crime
    generating that kind of smoke at the time when               victim rights assessment violated the Ex Post Facto
    [defendant] left the house....                               Clause. The Michigan Court of Appeals affirmed Pruitt's
                                                                 convictions and sentences. Pruitt, 2014 WL 1320253 at
  On February 9, 2010, defendant submitted a claim
                                                                 *10. The Michigan Supreme Court denied leave to appeal.
  to State Auto, estimating the amount of loss from
                                                                 People v. Pruitt, 497 Mich. 870 (2014).
  the fire at $118,035 and claiming $500.[ ] State Auto
  deemed this statement of loss inadequate and requested
                                                                  *4 Pruitt then filed the instant habeas petition. She raises
  another, which defendant submitted on March 19,
                                                                 these claims:
  2010. This time, defendant estimated the amount of
  loss to be $116,025 and claimed $116,025. State Auto             I. The trial court plainly erred by allowing the fire
  and defendant completed an inventory of defendant's                 investigator to opine on the cause of the fire based on


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    a methodology that has been rejected by the National        disagree’ on the correctness of the state court's decision.”
    Fire Prevention Association. Alternatively, counsel         Harrington v. Richter, 562 U.S. 86, 101 (2011) (quoting
    rendered ineffective assistance by failing to object.       Yarborough v. Alvarado, 541 U.S. 652, 664 (2004)).

  II. Immaterial statements to firefighters do not                          Section 2254(d) reflects the view
     implicate the administration of justice. The trial court               that habeas corpus is a guard
     therefore erred in scoring OV-19 at 10 points.                         against extreme malfunctions in
                                                                            the state criminal justice systems,
                                                                            not a substitute for ordinary error
                                                                            correction through appeal. As a
               STANDARD OF REVIEW
                                                                            condition for obtaining habeas
Review of this case is governed by the Antiterrorism and                    corpus from a federal court, a
Effective Death Penalty Act of 1996 (“AEDPA”). Under                        state prisoner must show that the
the AEDPA, a state prisoner is entitled to a writ of                        state court's ruling on the claim
habeas corpus only if she can show that the state court's                   being presented in federal court
adjudication of her claims—                                                 was so lacking in justification
                                                                            that there was an error well
  (1) resulted in a decision that was contrary to,                          understood and comprehended in
  or involved an unreasonable application of, clearly                       existing law beyond any possibility
  established Federal law, as determined by the Supreme                     for fairminded disagreement.
  Court of the United States; or
                                                                Id. at 102–03 (internal quotation marks and citation
  (2) resulted in a decision that was based on an               omitted).
  unreasonable determination of the facts in light of the
  evidence presented in the State court proceedings.             *5 Accordingly, § 2254(d)(1) limits a federal habeas
                                                                court's review to a determination of whether the state
28 U.S.C. § 2254(d).                                            court's decision comports with clearly established federal
                                                                law as determined by the Supreme Court at the time the
“A state court's decision is ‘contrary to’ ... clearly          state court renders its decision. See Greene v. Fisher, 565
established law if it ‘applies a rule that contradicts          U.S. 34, 38 (2011). Section 2254(d) “does not require
the governing law set forth in [Supreme Court cases]’           citation of [Supreme Court] cases—indeed, it does not
or if it ‘confronts a set of facts that are materially          even require awareness of [Supreme Court] cases, so long
indistinguishable from a decision of [the Supreme] Court        as neither the reasoning nor the result of the state-court
and nevertheless arrives at a result different from [this]      decision contradicts them.” Early v. Packer, 537 U.S. 3,
precedent.’ ” Mitchell v. Esparza, 540 U.S. 12, 15–16           8 (2002). “[W]hile the principles of “clearly established
(2003) (per curiam) (quotingWilliams v. Taylor, 529 U.S.        law” are to be determined solely by resort to Supreme
362, 405–06 (2000)). The “unreasonable application”             Court rulings, the decisions of lower federal courts may be
prong of the statute “permits a federal habeas court to         instructive in assessing the reasonableness of a state court's
‘grant the writ if the state court identifies the correct       resolution of an issue.” Stewart v. Erwin, 503 F.3d 488, 493
governing legal principle from [the Supreme] Court              (6th Cir. 2007) (quoting Williams v. Bowersox, 340 F.3d
but unreasonably applies that principle to the facts' of        667, 671 (8th Cir. 2003)).
petitioner's case.” Wiggins v. Smith, 539 U.S. 510, 520
(2003) (quotingWilliams, 529 U.S. at 413). For a federal        Lastly, a federal habeas court must presume the
court find to a state court's application of Supreme Court      correctness of state court factual determinations. See
precedent “unreasonable,” however, “the state court's           28 U.S.C. § 2254(e)(1). A petitioner may rebut this
decision must have been more than incorrect or erroneous.       presumption only with clear and convincing evidence. Id.
The state court's application must have been ‘objectively
unreasonable.’ ” Id. at 520–21 (citations omitted). “A state
court's determination that a claim lacks merit precludes
federal habeas relief so long as ‘fairminded jurists could                            DISCUSSION



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                                                                  defendant left the home allowed for the conclusion
I. Expert Witness Testimony                                       that defendant was in the home when the fire started.
Pruitt's first claim concerns the admission of David              Multiple witnesses testified that they saw defendant
Row's expert testimony. Row concluded that the fire               driving away from her home as smoke billowed from the
was intentionally set, but Pruitt says he reached his             home's eaves—the inference being that defendant was
conclusion by process of elimination—also known as                in the home for a somewhat extended period after the
“negative corpus”—and the process failed to meet both             fire started. Consistent with these witness statements,
the admissibility requirements of Michigan Rule of                defendant told Captain Gotham on the day of the
Evidence 702 and the Supreme Court's decision in Daubert          fire that she left home at 9:30 a.m. Later, defendant
v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 113           attempted to dispel the inference that she had been in
S.Ct. 2786, 125 L.Ed.2d 469 (1993). Respondent argues             the home when the fire started by telling State Auto
that this claim is procedurally defaulted, not cognizable         that she left the home at 8:50 a.m. Such arguably false
on federal habeas review, and meritless.                          exculpatory statements may be considered as evidence
                                                                  of guilt. See People v. Seals, 285 Mich. App. 1, 5-6; 776
“[F]ederal courts are not required to address a procedural-       N.W.2d 314 (2009).
default issue before deciding against the petitioner on
the merits.” Hudson v. Jones, 351 F.3d 212, 215 (6th               *6 In addition, just two months before the fire,
Cir. 2003) (citing Lambrix v. Singletary, 520 U.S. 518,           defendant obtained an insurance policy ensuring the
525 (1997)). “Judicial economy might counsel giving the           home for $87,000, an amount far in excess of the $9,000
[other] question priority, for example, if it were easily         defendant agreed to pay for the home under the land
resolvable against the habeas petitioner, whereas the             contract, suggesting a motive for arson. Moreover,
procedural-bar issue involved complicated issues of state         several expensive non-functioning items, including a
law.” Lambrix, 520 U.S. at 525. In this case, the Court           commercial meat slicer and sewing machine, were
finds that the interests of judicial economy are best served      found in defendant's home, likewise suggesting that
by first addressing the merits of the claim.                      defendant put them there so that she could collect
                                                                  insurance proceeds from their loss. Indeed, defendant's
The Michigan Court of Appeals described the “negative             insurance policy with State Auto insured $60,900 worth
corpus” analytical approach this way: “[T]he approach             of personal property and defendant's personal property
provides that after the elimination of any accidental             inventory indicated that defendant had purchased
causes of a fire, it is reasonable to infer that the fire was     $23,000 of personal property in the past year, even
arson.” Pruitt, 2014 WL 1320253 at *5. The state court            though defendant had only made about $5,000 in 2009.
acknowledged that negative corpus has been rejected by            Finally, Captain Gotham testified that neither the stove
the National Fire Protection Association because it is            nor the refrigerator caused the fire. Thus, the admission
“'not consistent with the Scientific Method' and because          of Row's ultimate conclusions regarding the fire did not
‘it generates un-testable hypotheses.’ ” Id. (quoting NFPA        affect the trial's outcome or otherwise affect defendant's
921 § 18.6.5 (2011)). The court of appeals held that most         substantial rights. Carines, 460 Mich. at 763.
of Row's testimony did not violate Michigan Rule of
Evidence 702, but his ultimate conclusion that the fire         Id. at *6.
was intentionally set was inadmissible under Rule 702
because it “rested on a combination of negative corpus          “In conducting habeas review, a federal court is limited to
and a reliance upon circumstantial evidence not within the      deciding whether a conviction violated the Constitution,
purview of his qualification as an arson expert.” Id. Still,    laws, or treaties of the United States.” Estelle v. McGuire,
the Michigan Court of Appeals held that admission of this       502 U.S. 62, 68 (1991). “[I]t is not the province of a federal
testimony did not violate Pruitt's fundamental rights, as       habeas court to reexamine state-court determinations on
there was ample admissible evidence, exclusive of Row's         state-law questions.” Id. at 67–68. As a result, “errors
inadmissible testimony, to support the verdicts:                in application of state law, especially with regard to the
                                                                admissibility of evidence, are usually not cognizable in
  Row offered admissible testimony that an open flame in        federal habeas corpus.” Bey v. Bagley, 500 F.3d 514, 519
  the trashcan started the fire. Row also testified that the    (6th Cir. 2007) (citation omitted). To form a basis for
  smoke analysis and witness testimony regarding when           habeas corpus relief, a challenged evidentiary ruling must


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be so “fundamentally unfair” as to violate due process. Id.       about the cause of the fire did not deprive Pruitt of a fair
at 519–20. The Supreme Court has defined “the category            trial.
of infractions that violate ‘fundamental fairness' very
narrowly.” Dowling v. United States, 493 U.S. 342, 352             *7 Additionally, Pruitt's reliance on Daubert is
(1990). Infractions that violate fundamental fairness are         misplaced. The Sixth Circuit has held that Daubert cannot
restricted to offenses against “ ‘some principle of justice       provide a basis for habeas relief because Daubert concerns
so rooted in the traditions and conscience of our people          the Federal Rules of Evidence which are not relevant to
as to be ranked as fundamental.’ ” Bey, 500 F.3d at 521           a state criminal conviction. Norris v. Schotten, 146 F.3d
(quoting Montana v. Egelhoff, 518 U.S. 37, 43 (1996)). A          314, 335 (6th Cir. 1998), cert. denied, 525 U.S. 935 (1998).
petitioner bears the burden of showing that a principle of        Habeas relief is denied on this claim.
fundamental fairness has been violated. Id.

Pruitt's claim that the admission of Row's testimony              II. Ineffective Assistance of Counsel Claim
violated Michigan Rule of Evidence 702 does not raise a           In her second claim for habeas relief, Pruitt argues that
claim cognizable on habeas review. See Estelle, 502 U.S.          her trial counsel was ineffective for failing to object
at 67–68. The Court thus turns to the question of whether         to the expert witness's testimony that the fire was
admission of the portion of Row's testimony that rested           intentionally set. The Michigan Court of Appeals held
on negative corpus violated due process.                          that counsel's failure to object to admission of Row's
                                                                  ultimate conclusions regarding the fire fell below an
Whether the admission of this testimony violated                  objective standard of reasonableness. Pruitt, 2014 WL
fundamental fairness “turns upon whether the evidence is          1320253 at *7. The Michigan Court of Appeals held,
material in the sense of a crucial, critical highly significant   however, that Pruitt was not prejudiced by counsel's
factor.” Brown v. O'Dea, 227 F.3d 642, 645 (6th Cir.              failure because no reasonable likelihood existed that, but
2000) (quotation marks and citations omitted). And to             for counsel's error, the outcome of the trial would have
evaluate whether a state evidentiary error has resulted in        been different. Id.
a due process violation, a federal court on habeas review,
“consider[s] the strength of the other evidence of guilt.”        The AEDPA “erects a formidable barrier to federal
Hudson v. Lafler, 421 Fed.Appx. 619, 629 (6th Cir. 2011).         habeas relief for prisoners whose claims have been
Inquiries into the sufficiency of the evidence are relevant       adjudicated in state court.” Burt v. Titlow, 134 S. Ct. 10,
“in deciding whether the challenged evidence is a crucial         16 (2013). The standard for obtaining relief is “difficult
or critical factor in the conviction.” Id.                        to meet.” White v. Woodall, 134 S. Ct. 1697, 1702 (2014).
                                                                  In the context of an ineffective assistance of counsel
The Michigan Court of Appeals held that the portion               claim under Strickland v. Washington, 466 U.S. 668
of Row's testimony that was improperly admitted was               (1984), the standard is “all the more difficult” because
“extremely limited in scope” and concluded that the               “[t]he standards created by Strickland and § 2254(d)
other evidence presented was sufficient to support Pruitt's       are both highly deferential and when the two apply in
conviction and that she was not denied a fair trial. Pruitt,      tandem, review is doubly so.” Harrington, 562 U.S. at
2014 WL 1320253 at *5. As detailed by the Michigan                105 (internal citations and quotation marks omitted).
Court of Appeals, ample evidence supported a finding              Accordingly, “the question is not whether counsel's
that Pruitt intentionally set the fire: the timing of the         actions were reasonable”; but whether “there is any
insurance policy purchase, the high-value items found             reasonable argument that counsel satisfied Strickland's
inside Pruitt's home, the huge discrepancy between Pruitt's       deferential standard.” Id.
income and the cost of her recent purchases, Pruitt's
inconsistent statements regarding when she left her home          An ineffective assistance of counsel claim has two
on the morning of the fire, and the insurance company's           components. A petitioner must show that counsel's
conclusion that the fire was intentionally set. The Court         performance was deficient and that the deficiency
finds that it was not objectively unreasonable for the state      prejudiced the defense. Strickland, 466 U.S. at 687.
court to determine that the admission of Row's testimony          To establish deficient representation, a petitioner must
                                                                  demonstrate that counsel's representation “fell below an
                                                                  objective standard of reasonableness.” Id. at 688. In order


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to establish prejudice, a petitioner must show that, but            sentencing guidelines is not cognizable on habeas corpus
                                                                    review.” Adams v. Burt, 471 F. Supp. 2d 835, 844 (E.D.
for the constitutionally deficient representation, there
                                                                    Mich. 2007). Habeas relief will be denied.
is a “reasonable probability” that the outcome of the
proceeding would have been different. Id. at 694.
                                                                    IV. Certificate of Appealability
The Michigan Court of Appeals' decision that Pruitt                 Federal Rule of Appellate Procedure 22 provides that
failed to establish prejudice is not an unreasonable                an appeal may not proceed unless a certificate of
determination of the facts or an unreasonable application           appealability (COA) is issued under 28 U.S.C. § 2253.
of Strickland. As discussed in detail above, even if                Rule 11 of the Rules Governing Section 2254 Proceedings
Row had not been allowed to testify as to his ultimate              requires that the Court “must issue or deny a certificate
conclusion regarding the fire, ample evidence supported a           of appealability when it enters a final order adverse
finding that Pruitt intentionally set the fire. Habeas relief       to the applicant.” A COA may be issued “only if
is not warranted on this claim.                                     the applicant has made a substantial showing of the
                                                                    denial of a constitutional right.” 28 U.S.C. § 2253(c)
                                                                    (2). The substantial showing threshold is satisfied when
III. Scoring of Offense Variable 19
                                                                    a petitioner demonstrates “that reasonable jurists would
Pruitt's final claim for habeas corpus relief concerns
                                                                    find the district court's assessment of the constitutional
the scoring of offense variable (OV) 19. Ten points
                                                                    claims debatable or wrong.” Slack v. McDaniel, 529 U.S.
were scored for OV 19 based upon Pruitt's allegedly
                                                                    473, 484 (2000).
false statements to the fire captain and the insurance
company. Offense variable 19 provides for the scoring of
                                                                    In this case, the Court concludes that reasonable jurists
ten points when an offender “interfered with or attempted
                                                                    would not debate the Court's conclusion that none of the
to interfere with the administration of justice.” Mich.
                                                                    claims in the habeas petition warrant relief. Therefore, the
Comp. Laws § 777.49. The Michigan Court of Appeals
                                                                    Court will deny a certificate of appealability.
held that the fire captain was a law enforcement officer
involved in the investigation of a crime and therefore the
trial court properly scored OV19 at ten points. Pruitt, 2014
WL 1320253 at *9.                                                                         CONCLUSION

 *8 Petitioner's argument that the state court erred in             WHEREFORE, it is ORDERED that the petition for a
scoring her sentencing guidelines is based solely on the            writ of habeas corpus is DENIED.
state court's interpretation of state law. It does not
implicate any federal rights. See Bradshaw v. Richey, 546           IT IS FURTHER ORDERED that a certificate of
U.S. 74, 76 (2005) (“[A] state court's interpretation of            appealability is DENIED.
state law, including one announced on direct appeal of
the challenged conviction, binds a federal court sitting            SO ORDERED.
in habeas corpus.”); see also Mullaney v. Wilbur, 421
U.S. 684, 691 (1975) (“[S]tate courts are the ultimate
                                                                    All Citations
expositors of state law.”). “[A] claim that the trial court
mis-scored offense variables in determining the state               Slip Copy, 2017 WL 2276983

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